Case 2:18-cr-00422-DJH Document 1966-2 Filed 11/13/23 Page 1 of 91




                  Exhibit 2
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 1Page
                                                                     of 902 of 91 ID #:694
                                                                            Page



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     STEVEN R. WELK (Cal. State Bar No. 149886)
 4   Assistant United States Attorney
     Chief, Asset Forfeiture Section
 5   JOHN J. KUCERA (Cal. Bar No. 274184)
     DAN G. BOYLE (Cal. Bar No. Pending)
 6   Assistant United States Attorneys
     Asset Forfeiture Section
 7        1400 United States Courthouse
          312 North Spring Street
 8        Los Angeles, California 90012
          Telephone: (213) 894-3391/2426
 9        Facsimile: (213) 894-0142
          E-mail:   John.Kucera@usdoj.gov
10                  Daniel.Boyle2@usdoj.gov
11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12
13                            UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                      WESTERN DIVISION
16
     UNITED STATES OF AMERICA,                     Lead Case No. CV 18-8420 RGK
17                                                 (PJWx)
                Plaintiff,
18                                                 FIRST AMENDED CONSOLIDATED MASTER
                      v.                           VERIFIED COMPLAINT FOR FORFEITURE
19
     $1,546,076.35 IN BANK FUNDS SEIZED            18 U.S.C. §§ 981(a)(1)(A) & (C)
20   FROM REPUBLIC BANK OF ARIZONA
     ACCOUNT ‘1889, ET AL.,                        [U.S.P.I.S.]
21
                Defendants.
22
23
     //
24
     //
25
26
27
28
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 2Page
                                                                     of 903 of 91 ID #:695
                                                                            Page



 1   PERSONS AND ENTITIES ............................................... 6
 2         A.   Defendants ............................................... 6
 3   NATURE OF THE ACTION AND CLAIMS FOR RELIEF ........................ 23
 4   JURISDICTION AND VENUE ............................................ 24
 5   II.   The Formation and Evolution of Backpage ...................... 27
 6
     III. The Sources and Manipulation of Backpage Criminal Proceeds ... 29
 7
           A.   Backpage Promotion of Prostitution and Sex Trafficking .. 29
 8
           B.   Payments for Advertising on Backpage .................... 38
 9
           C.   Bank Accounts Funded with Proceeds Traceable to SUA,
10              Involved in Money Laundering, or Both ................... 43
11         D.   Bases for Forfeiture .................................... 45
12   IV.   Assets Representing, Traceable To, and Involved In
           Specified Unlawful Activity .................................. 46
13
           A.   Account 1 (Prosperity ‘7188 Funds) ...................... 46
14
     CEREUS PROPERTIES ASSETS .......................................... 47
15
16         B.   Account 2 (Compass ‘3873 Funds) ......................... 47

17         C.   Account 3 (Compass ‘4862 Funds) ......................... 48

18   MICHAEL LACEY ASSETS .............................................. 49

19         D.   Account 4 (FFS&L of SR ‘3620 Funds) ..................... 49

20         E.   Accounts 5-10 (RBA ‘2485, ‘1897, ‘3126, ‘8316, ‘8324,
                and ‘8332) .............................................. 49
21
           F.   Account 11 (SFFCU ‘4S10 Funds) .......................... 50
22
           G.   Account 12 (IOLTA ‘4139) ................................ 50
23
           H.   The Sebastopol Property ................................. 51
24
25         I.   San Francisco, California Property 1 .................... 52

26         J.   San Francisco Property 2 ................................ 52

27         K.   San Francisco Property 3 ................................ 53

28         L.   Sedona Property ......................................... 54


                                               2
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 3Page
                                                                     of 904 of 91 ID #:696
                                                                            Page



 1        M.    Paradise Valley Property 2 .............................. 54
 2   JAMES LARKIN ASSETS ............................................... 55
 3        N.    Accounts 13, 16, 17, AND 18 (RBA ‘1889, ‘2592, ‘8103,
                ‘8162, AND ‘8189) ....................................... 55
 4
          O.    Accounts 19 AND 20 (PCTC ACCOUNT ‘0012 FUNDS, PERKINS
 5              COIE ‘0012) ............................................. 56
 6
          P.    Account 21 (ACF ‘2020) .................................. 57
 7
          Q.    Accounts 22 And 23 (BA ‘8225 and ‘7054) ................. 57
 8
          R.    Saint Helena Property ................................... 58
 9
          S.    Chicago Property ........................................ 58
10
          T.    Paradise Valley Property 1 .............................. 59
11
          U.    Paradise Valley Property 2 .... Error! Bookmark not defined.
12
     JOHN BRUNST ASSETS ................................................ 59
13
          V.    Account 24 (COMPASS BANK ‘3825) ......................... 59
14
          W.    Account 25, 26, 27, 28, 29, 30 (AB ‘6878, ‘4954,
15              ‘7892, ‘7889, ‘7888 AND ‘6485) .......................... 60
16
     SCOTT SPEAR ASSETS ................................................ 61
17
          X.    Accounts 31, 32, AND 33 (NBA ‘0178, ‘0151, and’3645) .... 61
18
          Y.    Account 34 (Live Oak Bank Account ‘6910) ................ 61
19
          Z.    Account 35 and 36 (Ascensus Broker Services ‘4301
20              and’8001) ............................................... 62
21   PRIMUS TRUST ASSETS ............................................... 62
22        AA.   Account 37 (K&H Bank Account ‘1210) ..................... 62
23   AD TECH BV ASSETS ................................................. 63
24        BB.   Accounts 56, 57, and 58 (Fio Bank ‘5803, ‘5801, and
25              ‘5805) .................................................. 63

26        CC.   Accounts 47, 48, 49 and 50 (BF Accounts ‘K000 K, ‘K000
                U, ‘K000 E, and ‘K001 K) ................................ 64
27
     GOLD LEAF SRO FUNDS HELD AT FIO BANK .............................. 64
28
          DD.   Account 38, 39, and 30 (Fio Bank ‘2226, ‘2231, and

                                               3
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 4Page
                                                                     of 905 of 91 ID #:697
                                                                            Page



 1              ‘2230) .................................................. 64
 2   PROTECCTIO SRO FUNDS HELD AT FIO BANK ............................. 65
 3        EE.   Accounts 41, 42, and 43 (Fio Bank ‘4194, ‘4196, and
                ‘4198) .................................................. 65
 4
     VARICOK SRO FUNDS HELD AT FIO BANK ................................ 65
 5
 6        FF.   Accounts 44, 45, and 46 (Fio Bank ‘8083, ‘8086, and
                ‘8080) .................................................. 65
 7
     PROCOP SERVICES BV FUNDS HELD AT KNAB BANK ........................ 66
 8
          GG.   Account 51 (KB ‘7664) ................................... 66
 9
     GULIETTA GROUP BV FUNDS HELD AT RABO BANK ......................... 66
10
          HH.   Accounts 52 and 53 (RB ‘2452 and ‘4721) ................. 66
11
     CASHFLOWS EUROPE LTD FUNDS HELD FOR GULIETTA GROUP B.V.,
12        UNIVERSADS B.V., PROCOPSERVICES B.V. and PROTECCIO SRO ....... 67
13        II.   Account 55 (SP ‘1262) ................................... 67
14        JJ.   Account 54 (LHVP ‘4431) ................................. 68
15   BACKPAGE-CONTROLLED DOMAIN NAMES .................................. 68
16
          KK.   ASCIO/WMB Inc Domain Names .............................. 68
17
          LL.   SURRENDERED DOMAIN NAMES ................................ 70
18
     BACKPAGE SURRENDERED ASSETS ....................................... 80
19
          MM.   ASSETS BACKPAGE SURRENDERED TO THE GOVERNMENT ........... 80
20
          NN.   BACKPAGE ASSETS SURRENDERED TO THE GOVERNMENT BY
21              OTHERS .................................................. 83
22        OO.   BACKPAGE FUNDS PREVIOUSLY HELD AT DAVIS WRIGHT
                TREMAINE ................................................ 83
23
     FUNDS HELD AT USAA SAVINGS BANK FOR THE BENEFIT OF MICHAEL LACEY .. 84
24
25        PP.   Accounts 59, 60, 61, and 62 (USAA ‘2155, ‘2058, ‘2171,
                and, 1507) .............................................. 84
26
     FIRST CLAIM FOR RELIEF ............................................ 86
27
     (18 U.S.C. § 981(a)(1)(C)) ........................................ 86
28
     SECOND CLAIM FOR RELIEF ........................................... 87

                                               4
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 5Page
                                                                     of 906 of 91 ID #:698
                                                                            Page



 1   (18 U.S.C. § 981(a)(1)(A)) ........................................ 87
 2   THIRD CLAIM FOR RELIEF ............................................ 87
 3   (18 U.S.C. § 981(a)(1)(A)) ........................................ 87
 4   VERIFICATION ...................................................... 90
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               5
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 6Page
                                                                     of 907 of 91 ID #:699
                                                                            Page



 1        The United States of America brings this first amended
 2   consolidated master complaint against the above-captioned asset(s)
 3   and alleges as follows:
 4                                 PERSONS AND ENTITIES
 5        1.    The plaintiff is the United States of America (“plaintiff”
 6   or the “government”).
 7        2.    Plaintiff previously filed verified complaints seeking the
 8   civil forfeiture of the following assets (collectively, the
 9   “Defendant Assets”).
10        A.    Defendants1
11        3.    $689,884.48 in bank funds seized from First Federal Savings
12   & Loan of San Rafael Account No. ‘3620 (“FFS&L of SR ‘3620 Funds” or
13   “Account 4”), held in the name of Michael Lacey (“Lacey”).                 Lacey and
14   Jill Anderson (“Anderson”) have filed claims in member case number CV
15   18-8579 RGK (PJWx).
16        4.    $515,899.85 in bank funds seized from Republic Bank of
17   Arizona Account No. ‘2485 (“RBA ‘2485 Funds” or “Account 5”), held in
18   the name of Michael Lacey.        Lacey and Anderson have filed claims in
19   member case number CV 18-8579 RGK (PJWx).
20        5.    $500,000.00 in bank funds seized from Republic Bank of
21   Arizona Account No. ‘3126 (“RBA ‘3126 Funds” or “Account 7”) held in
22   the name of Michael Lacey.        Lacey and Anderson have filed claims in
23   member case number CV 18-8579 RGK (PJWx).
24        6.    $601,827.10 in bank funds seized from Republic Bank of
25
26
          1 Pursuant to the Court’s Order dated December 18, 2019, the
27   defendant assets from the member cases are described in this
     consolidated complaint. The original case number and claimant or
28   claimants are identified in the description of each defendant in the
     instant consolidated complaint.

                                               6
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 7Page
                                                                     of 908 of 91 ID #:700
                                                                            Page



 1   Arizona CDARS2 Account No. ‘8316 held in the name of Michael Lacey
 2   (“RBA ‘8316 Funds” or “Account 8”).           Lacey and Anderson have filed
 3   claims in member case number CV 18-8579 RGK (PJWx).
 4        7.    $302,177.57 in bank funds seized from Republic of Bank of
 5   Arizona CDARS Account No. ‘8324 held in the name of Michael Lacey
 6   (“RBA ‘8324 Funds” or “Account 9”). Lacey and Anderson have filed
 7   claims in member case number CV 18-8579 RGK (PJWx).
 8        8.    $305,127.89 in bank funds seized from Republic Bank of
 9   Arizona CDARS Account No. ‘8332 (“RBA ‘8332 Funds” or “Account 10”)
10   held in the name of Michael Lacey. Lacey and Anderson have filed
11   claims in member case number CV 18-8579 RGK (PJWx).
12        9.    $484,745.72 in bank funds seized from SF Fire Credit Union
13   Account No. ‘4S10 (“SFFCU ‘4S10 Funds” or “Account 11”), held in the
14   name of Michael G. Lacey and Jean K. Warren.             Lacey and Anderson have
15   filed claims in member case number CV 18-8579 RGK (PJWx).
16        10.   $2,412,785.47 in bank funds seized from Money Gram having
17   originated from Midfirst Bank Account No. ‘4139 (“IOLTA3 ‘4139” or
18   Account 12) held in the name of attorney, ““J.B.”“ for the benefit of
19   Michael Lacey.     Lacey, Anderson, and John R. Becker have filed claims
20   in member case number CV 18-8579 RGK (PJWx).
21        11.   All right and title to the real property located in
22   Sebastopol, California titled in the name of Finca Manzana for
23   Sebastopol, LLC (“Sebastopol Property”), APN 076-100-0008-000,
24   including all appurtenances, improvements, and attachments thereon,
25
26        2 CDARS is a program that allows a depositor to spread funds
27   across several banks in order to maintain account balances below the
     Federal Deposit Insurance Corporation’s insurance limits at any
28   particular bank.
          3 An “IOLTA” is an acronym for Interest on Lawyer Trust Account.



                                               7
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20   Page 8Page
                                                                     of 909 of 91 ID #:701
                                                                            Page



 1   as well as all leases, rents, and profits derived therefrom. 4                 Lacey,
 2   Anderson, and Finca Manzana for Sebastopol, LLC. have filed claims in
 3   member case number CV 18-8730 RGK (PJWx).
 4        12.   All right and title to the real property located in San
 5   Francisco, California titled in the name of Lacey and Alyson Talley
 6   (“San Francisco Property 1”), APN Lot 057, Block 008, including all
 7   appurtenances, improvements, and attachments thereon, as well as all
 8   leases, rents, and profits derived therefrom.             Lacey, Anderson, and
 9   Alyson Talley have filed claims in member case number CV 18-8723 RGK
10   (PJWx).
11        13.   All right and title to the real property located in San
12   Francisco, California titled in the name of Casa Bahia for San
13   Francisco, LLC. (“San Francisco Property 2”), APN Lot 029, Block
14   0563, including all appurtenances, improvements, and attachments
15   thereon, as well as all leases, rents, and profits derived therefrom.
16   Casa Bahia, LLC., Lacey, and Anderson have filed claims in member
17   case number CV 18-8551 RGK (PJWx).
18        14.   All right and title to the real property located in San
19   Francisco, California titled in the name of Michael Lacey (“San
20   Francisco Property 3”), APN Lot 008, Block 0097, including all
21   appurtenances, improvements, and attachments thereon, as well as all
22   leases, rents, and profits derived therefrom.             Lacey and Anderson
23   have filed claims in member case number CV 18-8763 RGK (PJWx).
24        15.   All right and title to the real property located in Sedona,
25   Arizona titled in the name of Creek Hideaway, LLC (“Sedona
26   Property”), APN 405-06-001B, including all appurtenances,
27
28        4 Pursuant to Local Rule 5.2-1, only the city and state of
     residence addresses are set forth in this Complaint

                                               8
         Case 2:18-cr-00422-DJHDocument
 Case 2:18-cv-08420-RGK-PJW      Document
                                        1081966-2  Filed 11/13/23
                                             Filed 06/01/20       Page
                                                             Page 9 of 9010 Page
                                                                            of 91 ID #:702



 1   improvements, and attachments thereon, as well as all leases, rents,
 2   and profits derived therefrom.         Lacey, Creek Hideaway, LLC., and
 3   Anderson have filed claims in member case number CV 18-8556 RGK
 4   (PJWx).
 5        16.   All right and title to the real property located in
 6   Paradise Valley, Arizona titled in the name of Lacey (“Paradise
 7   Valley Property 2”), APN 164-05-122, including all appurtenances,
 8   improvements, and attachments thereon, as well as all leases, rents,
 9   and profits derived therefrom.         Lacey and Anderson have filed claims
10   in member case number CV 18-8555 RGK (PJWx).
11        17.   $1,546,076.35 in bank funds seized from Republic Bank of
12   Arizona Account No. ‘1889 (“RBA ‘1889 Funds” or “Account 13”) held in
13   the name of James Larkin (“Larkin”). Larkin and Margaret Larkin (“M.
14   Larkin”) have filed claims in member case number CV 18-8420 RGK
15   (PJWx).
16        18.   $1,001,731.18 in bank funds seized from Republic Bank of
17   Arizona Account No. ‘2592 (“RBA ‘2592 Funds” or “Account 14”) held in
18   the name of James “Jed” Larkin.          Larkin and M. Larkin have filed
19   claims in member case number CV 18-8420.
20        19.   $501,248.14 in bank funds seized from Republic Bank of
21   Arizona Account No. ‘8103 (“RBA ‘8103 Funds” or “Account 16”) held in
22   the name of John Larkin (“J. Larkin”).            Larkin and M. Larkin have
23   filed claims in member case number CV 18-8420 RGK (PJWx).
24        20.   $251,436.93 in bank funds seized from Republic Bank of
25   Arizona Account No. ‘8162 (“RBA ‘8162 Funds” or “Account 17”) held in
26   the name of James Larkin.        Larkin and M. Larkin have filed claims in
27   member case number CV 18-8420 RGK (PJWx).
28        21.   $253,639.96 in bank funds seized from Republic Bank of


                                               9
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 10     11 of
                                                                      of 90     91 ID #:703
                                                                             Page



 1   Arizona Account ‘8189 (“RBA ‘8189 Funds” or “Account 18”) held in the
 2   name of James A. Larkin.        Larkin and M. Larkin have filed a claim in
 3   member case number CV 18-8420 RGK (PJWx).
 4         22.   $621,832.06 in bank funds seized from Perkins Coie Trust
 5   Company Account No. ‘0012 (“PCTC ‘0012 Funds” or “Account 19”) held
 6   in the name of Margaret G. Larkin.             Larkin, M. Larkin, Coyoacan
 7   Family Trust (“CFT”) and Ocotillo Family Trust (“OFT”) have filed
 8   claims in member case number CV 18-8420 RGK (PJWx).
 9         23.   Approximately $9,882,828.72 in securities and/or investment
10   funds seized from Perkins Coie Trust Company Account No. ‘0012 (“PCTC
11   Investment Funds” or “Account 20”) held in the name of Margaret G.
12   Larkin.     Larkin, M. Larkin, CFT and OFT have filed claims in member
13   case number CV 18-8420 RGK (PJWx).
14         24.   Approximately $34,149,280.00 in securities and/or
15   investment funds seized from Acacia Conservation Fund LP Account No.
16   ‘2020 (“ACF Funds” or “Account 21”), held in the name of the Ocotillo
17   Family Trust.     Larkin, M. Larkin, CFT and OFT have filed claims in
18   member case number CV 18-8420 RGK (PJWx).
19         25.   $278.73 in bank funds seized from Bank of America Account
20   No. ‘8225 (“BA ‘8225 Funds” or “Account 22”) held in the name of Troy
21   C. Larkin (“T. Larkin”).        Larkin filed a claim in member case number
22   CV 18-8420 RGK (PJWx).
23         26.   $1,038.42 in bank funds seized from Bank of America Account
24   No. ‘7054 (“BA ‘7054 Funds” or “Account 23”) held in the name of
25   Ramon Larkin (“R. Larkin”).         Larkin filed a claim in member case
26   number CV 18-8420 RGK (PJWx).
27         27.   All right and title to the real property located in
28   Paradise Valley, Arizona titled in the name of James Larkin


                                               10
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 11     12 of
                                                                      of 90     91 ID #:704
                                                                             Page



 1   (“Paradise Valley Property 1”), APN 173-11-006C, including all
 2   appurtenances, improvements, and attachments thereon, as well as all
 3   leases, rents, and profits derived therefrom.              Larkin, M. Larkin, and
 4   OFT have filed claims in member case number CV 18-8764 RGK (PJWx).
 5         28.   All right and title to the real property located in Saint
 6   Helena, California (“Saint Helena Property”) titled in the name of
 7   James Larkin and Margaret Larkin, Trustees for Ocotillo Family Trust,
 8   APN 030-050-028-000, including all appurtenances, improvements, and
 9   attachments thereon, as well as all leases, rents, and profits
10   derived therefrom.       Larkin, M. Larkin, and OFT have filed claims in
11   member case number CV 18-8760 RGK (PJWx).
12         29.   All right and title to the real property located in
13   Chicago, Illinois titled in the name of John C. Larkin (“J.C.
14   Larkin”), Margaret Larkin and James Larkin (“Chicago Property”), APN
15   20-14-201-079-1054, including all appurtenances, improvements, and
16   attachments thereon, as well as all leases, rents, and profits
17   derived therefrom.       Larkin and M. Larkin have filed claims in member
18   case number CV 18-8759 RGK (PJWx).
19         30.   $359,527.06 in bank funds seized from BBVA Compass Bank
20   Account No. ‘3825 (“Compass ‘3825 Funds” or “Account 24”) held in the
21   name of the John Brunst Family Trust (“BFT”).              The BFT, John Brunst
22   (“Brunst”) and Mary Ann Brunst (“M.A. Brunst”) have filed claims in
23   member case number CV 18-8568 RGK (PJWx).
24         31.   Approximately $5,848,729.00 in securities and/or investment
25   funds seized from Alliance Bernstein L.P. Account No. ‘6878 (“AB
26   ‘6878 Funds” or “Account 25”) held in the name of the John Brunst
27   Family Trust.     The BFT, Brunst and M.A. Brunst have filed claims in
28   member case number CV 18-8568 RGK (PJWx).


                                               11
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 12     13 of
                                                                      of 90     91 ID #:705
                                                                             Page



 1         32.    Approximately $372,878.00 in securities and/or investment
 2   funds seized from Alliance Bernstein L.P. Account No. ‘4954 (“AB
 3   ‘4954 Funds” or “Account 26”) held in the name of the Brunst Family
 4   Trust.      The BFT, Brunst and M.A. Brunst have filed claims in member
 5   case number CV 18-8568 RGK (PJWx).
 6         33.    Approximately $342,596.00 in securities and/or investment
 7   funds seized from Alliance Bernstein Account L.P. Account No. ‘7982
 8   (“AB ‘7982 Funds” or “Account 27”) held in the name of the Brunst
 9   Family Trust.      The BFT, Brunst and M.A. Brunst have filed claims in
10   member case number CV 18-8568 RGK (PJWx).
11         34.    Approximately $306,277.00 in securities and/or investment
12   funds Seized from Alliance Bernstein L.P. Account No. ‘7889 (“AB
13   ‘7889 Funds” or “Account 28”) held in the name of the Brunst Family
14   Trust.      The BFT, Brunst and M.A. Brunst have filed claims in member
15   case number CV 18-8568 RGK (PJWx).
16         35.    Approximately $275,328.00 in securities and/or investment
17   funds seized from Alliance Bernstein L.P. Account No. ‘7888 (“AB
18   ‘7888 Funds” or “Account 29”) held in the name of the Brunst Family
19   Trust.      The BFT, Brunst and M.A. Brunst have filed claims in member
20   case number CV 18-8568 RGK (PJWx).
21         36.    Approximately $527,624.00 in securities and/or investment
22   funds seized from Alliance Bernstein L.P. Account No. ‘6485 (“AB
23   ‘6485 Funds” or “Account 30”) held in the name of the Brunst Family
24   Trust.      The BFT, Brunst and M.A. Brunst have filed claims in member
25   case number CV 18-8568 RGK (PJWx).
26         37.    $404,374.12 in bank funds seized From National Bank of
27   Arizona Account No. ‘0178 (“NBA ‘0178 Funds” or “Account 31”) held in
28   the name of Scott Spear (“Spear”).             Spear and Natasha Spear (“N.


                                               12
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 13     14 of
                                                                      of 90     91 ID #:706
                                                                             Page



 1   Spear”) filed a claim in member case number CV 18-8423 RGK (PJWx).
 2         38.   $1,925.80 in bank funds seized from National Bank of
 3   Arizona Account No. ‘0151 (“NBA ‘0151 Funds” or “Account 32”), held
 4   in the name of Scott and Ellona Spear (“E. Spear”).               Spear and N.
 5   Spear filed a claim in member case number CV 18-8423 RGK (PJWx).
 6         39.   $613,573.28 in bank funds seized from National Bank of
 7   Arizona Account No. ‘3645 (“NBA ‘3645 Funds” or “Account 33”), held
 8   in the name of Scott G. Spear and Ellona Spear Family Trust.                  Spear
 9   and N. Spear filed a claim in member case number CV 18-8423 RGK
10   (PJWx).
11         40.   $260,283.40 in bank funds seized from Live Oak Bank Account
12   No. ‘6910 (“LOB ‘6910 Funds” or “Account 34”), held in the name of
13   Scott Gary Spear and Ellona Spear Family Trust.              Spear and N. Spear
14   filed a claim in member case number CV 18-8423 RGK (PJWx).
15         41.   $64,552.82 in bank funds seized from Ascensus Broker Dealer
16   Services Account No. ‘4301 (“ABS ‘4301 Funds” or “Account 35”), held
17   in the name of Natasha Spear.          Spear and N. Spear have filed claims
18   in member case number CV 18-8423 RGK (PJWx).
19         42.   $56,902.99 in bank funds seized from or frozen in Ascensus
20   Broker Services Account No. ‘8001 (“ABS ‘8001 Funds” or “Account
21   36”), held in the name of Natasha Spear.             Spear and N. Spear have
22   filed claims in member case number CV 18-8423 RGK (PJWx).
23         43.   Approximately $16,500,000.00 in bank funds seized from K&H
24   Account No. ‘1210 (“K&H ‘1210 Funds” or “Account 37”), held in the
25   name of Primus Trust.       Lacey and Anderson have filed claims in member
26   case number CV 18-8565 RGK (PJWx).
27         44.   Approximately 1,680,028.85 EUR in bank funds seized from
28   FIO Banka (Czech Republic) Account No. ‘2226 (“FIO ‘2226 Funds” or


                                               13
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 14     15 of
                                                                      of 90     91 ID #:707
                                                                             Page



 1   “Account 38”), held in the name of Gold Leaf SRO.               Medalist Holding,
 2   Inc. (“Medalist”); Leeward Holdings, LLC (“Leeward”); Camarillo
 3   Holdings, LLC (“Camarillo”); Vermillion Holdings, LLC (“Vermillion”);
 4   Cereus Properties, LLC (“Cereus”); Shearwater Investments, LLC
 5   (“Shearwater”); Broadway Capital Corp., LLC (“Broadway”); Larkin,
 6   Troy Larkin (“T. Larkin”); Ramon Larkin (“R. Larkin”); Spear, Lacey,
 7   and Brunst have filed claims in member case number CV 18-8569 RGK
 8   (PJWx).
 9         45.   Approximately 60.98 GDP in bank funds seized from FIO Banka
10   (Czech Republic) Account No. ‘2231 (“FIO ‘2231 Funds” or “Account
11   39”), held in the name of Gold Leaf SRO.             Medalist, Leeward,
12   Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin, T.
13   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
14   member case number CV 18-8569 RGK (PJWx).
15         46.   Approximately $72.87 in bank funds seized from FIO Banka
16   (Czech Republic) Account No. ‘2230 (“FIO ‘2230 Funds” or “Account
17   40”), held in the name of Gold Leaf SRO.             Medalist, Leeward,
18   Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin, T.
19   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
20   member case number CV 18-8569 RGK (PJWx).
21         47.   Approximately 3,213,937.82 EUR in bank funds seized from
22   FIO Banka (Czech Republic) Account No. ‘4194 (“FIO ‘4194 Funds” or
23   “Account 41”), held in the name of Protecctio SRO. Medalist, Leeward,
24   Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin, T.
25   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
26   member case number CV 18-8577 RGK (PJWx).
27         48.   Approximately $52.90 in bank funds seized from FIO Banka
28   (Czech Republic) Account No. ‘4196 (“FIO ‘4196 Funds” or “Account


                                               14
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 15     16 of
                                                                      of 90     91 ID #:708
                                                                             Page



 1   42”), held in the name of Protecctio SRO.             Medalist, Leeward,
 2   Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin, T.
 3   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
 4   member case number CV 18-8577 RGK (PJWx).
 5         49.   Approximately 52.65 GDP in bank funds seized from FIO Banka
 6   Account No. ‘4198 (“FIO ‘4198 Funds” or “Account 43”) held in the
 7   name of Protecctio SRO.        Medalist, Leeward, Camarillo, Vermillion,
 8   Cereus, Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear,
 9   Lacey, and Brunst have filed claims in member case number CV 18-8577
10   RGK (PJWx).
11         50.   Approximately 605,976.95 EUR in bank funds seized from FIO
12   Banka (Czech Republic) Account No. ‘8083 (“FIO ‘8083 Funds” or
13   “Account 44”) held in the name of Varicok Company SRO.                Medalist,
14   Leeward, Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin,
15   T. Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
16   member case number CV 18-8747 RGK (PJWx).
17         51.   Approximately 458.99 GDP in bank funds seized from FIO
18   Banka (Czech Republic) Account No. ‘8086 (“Fio ‘8086 Funds” or
19   “Account 45”), held in the name of the Varicok Company SRO.
20   Medalist, Leeward, Camarillo, Vermillion, Cereus, Shearwater,
21   Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and Brunst have
22   filed claims in member case number CV 18-8747 RGK (PJWx).
23         52.   Approximately $48.10 in bank funds seized from FIO Banka
24   (Czech Republic) Account No. ‘8080 (“Fio ‘8080 Funds” or “Account
25   46”), held in the name of the Varicok Company SRO.               Medalist,
26   Leeward, Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin,
27   T. Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
28   member case number CV 18-8747 RGK (PJWx).


                                               15
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 16     17 of
                                                                      of 90     91 ID #:709
                                                                             Page



 1         53.   An unknown amount of bank funds on deposit in Bank Frick
 2   (Liechtenstein) Account No. ‘000K (“BF ‘000K Funds” or “Account 47”),
 3   held in the name of Ad Tech BV.          Medalist, Leeward, Camarillo,
 4   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
 5   Larkin, Spear, Lacey, and Brunst have filed claims in member case
 6   number CV 18-8570 RGK (PJWx).
 7         54.   An unknown amount of bank funds on deposit in Bank Frick
 8   (Liechtenstein) Account No. ‘000U (“BF ‘000U Funds” or “Account 48”),
 9   held in the name of Ad Tech BV.          Medalist, Leeward, Camarillo,
10   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
11   Larkin, Spear, Lacey, and Brunst have filed claims in member case
12   number CV 18-8570 RGK (PJWx).
13         55.   An unknown amount of bank funds on deposit in Bank Frick
14   (Liechtenstein) Account No. ‘000E (“BF ‘000E Funds” or “Account 49”),
15   held in the name of Ad Tech BV.          Medalist, Leeward, Camarillo,
16   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
17   Larkin, Spear, Lacey, and Brunst have filed claims in member case
18   number CV 18-8570 RGK (PJWx).
19         56.   An unknown amount of bank funds on deposit in Bank Frick
20   (Liechtenstein) Account No. ‘001K (“BF ‘001K Funds” or “Account 50”),
21   held in the name of Ad Tech BV.          Medalist, Leeward, Camarillo,
22   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
23   Larkin, Spear, Lacey, and Brunst have filed claims in member case
24   number CV 18-8570 RGK (PJWx).
25         57.   An unknown amount of bank funds on deposit in Knab Bank
26   (Netherlands) Account No. ‘7664 (“KB ‘7664 Funds” or “Account 51”),
27   held in the name of Procop Services BV.            Medalist, Leeward,
28   Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin, T.


                                               16
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 17     18 of
                                                                      of 90     91 ID #:710
                                                                             Page



 1   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
 2   member case number CV 18-8748 RGK (PJWx).
 3         58.   An unknown amount of bank funds on deposit in Rabo Bank
 4   (Netherlands) Account No. ‘2452 (“RB ‘2452 Funds” or “Account 52”),
 5   held in the name of the Gulietta Group BV.             Medalist, Leeward,
 6   Camarillo, Vermillion, Cereus, Shearwater, Broadway, Larkin, T.
 7   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
 8   member case number CV 18-8749 RGK (PJWx).
 9         59.   An unknown amount of bank funds on deposit in Rabo Bank
10   (Netherlands) Account No. ‘4721 (“RB ‘4721 Funds” or “Account 53”),
11   held in the name of the UniversAds BV.            Medalist, Leeward, Camarillo,
12   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
13   Larkin, Spear, Lacey, and Brunst have filed claims in member case
14   number CV 18-8750 RGK (PJWx).
15         60.   An unknown amount of bank funds on deposit in LHV Pank
16   (Estonia) Account No. ‘4431 (“LHVP ‘4431 Funds” or “Account 54”),
17   held in the name of Olist OU (“OU”).           Medalist, Leeward, Camarillo,
18   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
19   Larkin, Spear, Lacey, and Brunst have filed claims in member case
20   number CV 18-8754 RGK (PJWx).
21         61.   Approximately 747,664.15 GBP seized from SAXO Payments
22   (United Kingdom) Account No. ‘1262 (“SP ‘1262 Funds” or “Account
23   55”), held in the name of the Cashflows Europe Limited (“Cashflows”).
24   Medalist, Leeward, Camarillo, Vermillion, Cereus, Shearwater,
25   Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and Brunst have
26   filed claims in member case number CV 18-8753 RGK (PJWx).
27         62.   Domain names associated with Backpage.com, and all rights
28   and privileges associated therewith.           Medalist, Leeward, Camarillo,


                                               17
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 18     19 of
                                                                      of 90     91 ID #:711
                                                                             Page



 1   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
 2   Larkin, Spear, Lacey, and Brunst have filed claims in member case
 3   number CV 18-8592 RGK (PJWx).
 4         63.   $699,940.00 in bank funds seized from ING Bank
 5   (Netherlands) Account No. ‘7684 (“ING ‘7684 Funds”) held in the name
 6   of Payment Solutions BV.        Medalist, Leeward, Camarillo, Vermillion,
 7   Cereus, Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear,
 8   Lacey, and Brunst have filed claims in member case number CV 18-8588
 9   RGK (PJWx).
10         64.   $106,988.41 in bank funds seized from ING Bank
11   (Netherlands) Account No. ‘2071 (“ING ‘2071 Funds”) held in the name
12   of Payment Solutions BV.        Medalist, Leeward, Camarillo, Vermillion,
13   Cereus, Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear,
14   Lacey, and Brunst have filed claims in member case number CV 18-8588
15   RGK (PJWx).
16         65.   $499,910.01 in bank funds seized from US Bank Account No.
17   ‘0239 (“US Bank ‘0239 Funds”) held in the name of Affordable Bail
18   Bonds, LLC.     Medalist, Leeward, Camarillo, Vermillion, Cereus,
19   Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and
20   Brunst have filed claims in member case number CV 18-8588 RGK (PJWx).
21         66.   $50,000.00 in bank funds seized from Enterprise Bank and
22   Trust Account No. ‘7177 (“EBT ‘7177 Funds”) held in the name of
23   Global Trading Solutions, LLC.          Medalist, Leeward, Camarillo,
24   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
25   Larkin, Spear, Lacey, and Brunst have filed claims in member case
26   number CV 18-8588 RGK (PJWx).
27         67.   $1,876.36 in bank funds seized from ING Bank (Netherlands)
28   Account No. ‘2071 (“ING ‘2071 Funds”) held in the name of Payment


                                               18
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 19     20 of
                                                                      of 90     91 ID #:712
                                                                             Page



 1   Solutions BV. Medalist, Leeward, Camarillo, Vermillion, Cereus,
 2   Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and
 3   Brunst have filed claims in member case number CV 18-8588 RGK (PJWx).
 4         68.   $50,357.35 in bank funds seized from ING Bank (Netherlands)
 5   Account No. ‘7684 (“ING ‘7684 Funds”) held in the name of Payment
 6   Solutions BV.     Medalist, Leeward, Camarillo, Vermillion, Cereus,
 7   Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and
 8   Brunst have filed claims in member case number CV 18-8588 RGK (PJWx).
 9         69.   $248,970.00 in bank funds seized from Citibank NA Account
10   No. ‘0457 (“Citibank NA ‘0457 Funds”) held in the name of Paul
11   Hastings, LLP.      Medalist, Leeward, Camarillo, Vermillion, Cereus,
12   Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and
13   Brunst have filed claims in member case number CV 18-8588 RGK (PJWx).
14         70.   $52,500.00 in bank funds seized from Enterprise Bank and
15   Trust Account No. ‘7177 (“EBT ‘7177 Funds”) held in the name of
16   Global Trading Solutions, LLC.          Medalist, Leeward, Camarillo,
17   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
18   Larkin, Spear, Lacey, and Brunst have filed claims in member case
19   number CV 18-8588 RGK (PJWx).
20         71.   $65,000.00 in bank funds seized from Enterprise Bank and
21   Trust Account No. ‘7177 (“EBT ‘7177 Funds”) held in the name of
22   Global Trading Solutions, LLC.          Medalist, Leeward, Camarillo,
23   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
24   Larkin, Spear, Lacey, and Brunst have filed claims in member case
25   number CV 18-8588 RGK (PJWx).
26         72.   $5,534.54 in bank funds seized from Enterprise Bank and
27   Trust Account ‘7177 (“EBT ‘7177 Funds”) held in the name of Global
28   Trading Solutions, LLC.        Medalist, Leeward, Camarillo, Vermillion,


                                               19
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 20     21 of
                                                                      of 90     91 ID #:713
                                                                             Page



 1   Cereus, Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear,
 2   Lacey, and Brunst have filed claims in member case number CV 18-8588
 3   RGK (PJWx).
 4          73.   $40,000.00 in bank funds seized from Enterprise Bank and
 5   Trust Account No. ‘7177 held in the name of Global Trading Solutions,
 6   LLC.    Medalist, Leeward, Camarillo, Vermillion, Cereus, Shearwater,
 7   Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and Brunst have
 8   filed claims in member case number CV 18-8588 RGK (PJWx).
 9          74.   Approximately 6 Bitcoins surrendered on or about April 6,
10   2018, from a Backpage controlled wallet.
11          75.   Approximately 404.99984122 Bitcoins surrendered on or about
12   April 6, 2018, from a Backpage controlled wallet.
13          76.   Approximately 199.99995716 Bitcoins surrendered on or about
14   April 6, 2018, from a Backpage controlled wallet.
15          77.   Approximately 173.97319 Bitcoins surrendered on or about
16   April 26, 2018, from a Backpage controlled wallet.
17          78.   Approximately 411.00019 Bitcoins seized on or about April
18   13, 2018, from a Backpage controlled wallet.
19          79.   Approximately 2.00069333 Bitcoins surrendered on or about
20   May 7, 2018, from a Backpage controlled wallet.
21          80.   Approximately 136.6544695 Bitcoins surrendered on or about
22   June 15, 2018, from a Backpage controlled wallet.
23          81.   Approximately 2,673.59306905 Bitcoin Cash surrendered on or
24   about April 26, 2018, from a Backpage controlled wallet.
25          82.   Approximately 55.50826185 Bitcoin Cash surrendered on or
26   about May 3, 2018, from a Backpage controlled wallet.
27          83.   Approximately 73.62522241 Bitcoin Cash surrendered on or
28   about June 15, 2018, from a Backpage controlled wallet.


                                               20
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 21     22 of
                                                                      of 90     91 ID #:714
                                                                             Page



 1         84.   Approximately 16,310.79413202 Litecoins surrendered on or
 2   about April 26, 2018, from a Backpage controlled wallet.
 3         85.   Approximately 783.9735116 Litecoins surrendered on or about
 4   June 15, 2018, from a Backpage controlled wallet.
 5         86.   Approximately 509.81904619 Bitcoin Gold surrendered on or
 6   about June 21, 2018, from a Backpage controlled wallet.
 7         87.   Approximately 2.70447488 Bitcoins seized from Bitstamp
 8   Account No. ‘0831. Medalist, Leeward, Camarillo, Vermillion, Cereus,
 9   Shearwater, Lacey, Larkin, T. Larkin, R. Larkin, and Spear have filed
10   a claim in member case number CV 19-9949 RGK (PJWx).
11         88.   Approximately 3.54986077 Bitcoin Cash seized from Bitstamp
12   Account No. ‘0831. Medalist, Leeward, Camarillo, Vermillion, Cereus,
13   Shearwater, Lacey, Larkin, T. Larkin, R. Larkin, and Spear have filed
14   a claim in member case number CV 19-9949 RGK (PJWx).
15         89.   $518,172.92 in bank funds seized from Wells Fargo Bank
16   Account No. ‘4455 (“BofA ‘4455 Funds” or “Account 66”) held in the
17   name of Cardquiry, Inc.        Medalist, Leeward, Camarillo, Vermillion,
18   Cereus, Shearwater, and Broadway, Larkin, T. Larkin, R. Larkin,
19   Spear, Lacey, and Brunst filed a claim in member case number CV 19-
20   7048 RGK (PJWx).
21         90.   $1,412,085.94 in bank funds seized from USAA Savings
22   Account No. ‘2155 (“USAA ‘2155 Funds” or “Account 59”) held in the
23   name of Anne Hawkins (“Hawkins”).           Kathleen D. Larkin (“K. Larkin”),
24   John C. Larkin (“J.C. Larkin”), Quinn M. Larkin (“Q. Larkin”), and
25   Hawkins have filed claims in member case number CV 19-7032 RGK
26   (PJWx).
27         91.   $1,502,927.74 in bank funds seized from USAA Savings
28   Account No. ‘2058 (“USAA ‘2058 Funds” or “Account 60”) held in the


                                               21
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 22     23 of
                                                                      of 90     91 ID #:715
                                                                             Page



 1   name of Anne Hawkins.       K. Larkin, J.C. Larkin, Q. Larkin, and Hawkins
 2   have filed claims in member case number CV 19-7032 RGK (PJWx).
 3         92.   $1,453,008.51 in bank funds seized from USAA Savings
 4   Account No. ‘2171 (“USAA ‘2171 Funds” or “Account 61”) held in the
 5   name of Anne Hawkins.       K. Larkin, J.C. Larkin, Q. Larkin, and Hawkins
 6   have filed claims in member case number CV 19-7032 RGK (PJWx).
 7         93.   $1,422,147.37 in bank funds seized from USAA Savings
 8   Account No. ‘1507 (“USAA ‘1507 Funds” or “Account 62”) held in the
 9   name of Anne Hawkins.       K. Larkin, J.C. Larkin, Q. Larkin, and Hawkins
10   have filed claims in member case number CV 19-7032 RGK (PJWx).
11         94.   $182,182.50 in bank funds seized from Amro Bank N.V.
12   (Netherlands) Account No. ‘6352 (“Amro ‘6352 Funds” or “Account 63”)
13   held in the name of Ad Tech BV with Stichting Zencotrust.                 Medalist,
14   Leeward, Camarillo, Vermillion, Cereus, Shearwater, Larkin, T.
15   Larkin, R. Larkin, Spear, Lacey, and Brunst have filed claims in
16   member case number CV 19-7039 RGK (PJWx).
17         95.   $23,175.00 in bank funds seized from Plains Capital Bank
18   Account No. ‘3939 (“Plains Capital ‘3939 Funds” or “Account 64”) held
19   in the name of Scheef & Stone, LLP.            Medalist, Leeward, Camarillo,
20   Vermillion, Cereus, Shearwater, Larkin, T. Larkin, R. Larkin, Spear,
21   Lacey, and Brunst have filed claims in member case number CV 19-7039
22   RGK (PJWx).
23         96.   $11,802.76 in bank funds seized from Citibank Account No.
24   ‘6973 (“Citibank ‘6973 Funds” or “Account 65”) held in the name of
25   Schiff Hardin LLP.       Medalist, Leeward, Camarillo, Vermillion, Cereus,
26   Shearwater, Larkin, T. Larkin, R. Larkin, Spear, and Lacey have filed
27   claims in member case number CV 19-7044 RGK (PJWx).
28         97.   $3,374,918.61 in bank funds seized from Prosperity Bank


                                               22
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 23     24 of
                                                                      of 90     91 ID #:716
                                                                             Page



 1   Account No. ‘7188 (“Prosperity ‘7188 Funds” or “Account 1”) held in
 2   the name of Posting Solutions, LLC.            Medalist, Leeward, Camarillo,
 3   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
 4   Larkin, Lacey, and Brunst have filed claims in member case number CV
 5   18-8578 RGK (PJWx).
 6         98.   $5,462,027.17 in bank funds seized from BBVA Compass Bank
 7   Account No. ‘3873 (“Compass ‘3873 Funds” or “Account 2”), held in the
 8   name of Cereus Properties, LLC., an entity owned or controlled by
 9   Scott Spear.     Medalist, Leeward, Camarillo, Vermillion, Cereus,
10   Shearwater, Broadway, Larkin, T. Larkin, R. Larkin, Spear, Lacey, and
11   Brunst have filed claims in member case number CV 18-8566 RGK (PJWx).
12         99.   $407,686.14 in bank funds seized from BBVA Compass Bank
13   Account No. ‘4862 (“Compass ‘4862 Funds” or “Account 3”) held in the
14   name of Cereus Properties, LLC.          Medalist, Leeward, Camarillo,
15   Vermillion, Cereus, Shearwater, Broadway, Larkin, T. Larkin, R.
16   Larkin, Spear, Lacey, and Brunst have filed a claim in member case
17   number CV 18-8566 RGK (PJWx).
18                    NATURE OF THE ACTION AND CLAIMS FOR RELIEF
19         100. This is a civil action in rem to forfeit assets derived
20   from or traceable to proceeds of one or more crimes defined as
21   “specified unlawful activity,” or “SUA”; and/or involved in one or
22   more conspiracies to launder money, internationally launder money for
23   promotion of one or more SUA, and/or financial transactions involving
24   illicit proceeds.      The property sought for forfeiture is located in
25   the United States and abroad, including the Country of Hungary, the
26   Czech Republic, the Principality of Liechtenstein, and the Kingdom of
27   the Netherlands.
28         101. The Defendant Assets represent property derived from or


                                               23
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 24     25 of
                                                                      of 90     91 ID #:717
                                                                             Page



 1   traceable to proceeds of multiple knowing violations of federal laws
 2   constituting SUA (18 U.S.C. § 1956(c)(7)(A)), including 18 U.S.C.
 3   §§ 1591 (Sex Trafficking of Children) and 1952 (Interstate and
 4   Foreign Travel in Aid of Racketeering Enterprise).               The Defendant
 5   Assets are therefore subject to forfeiture pursuant to 18 U.S.C.
 6   § 981(a)(1)(C).
 7         102. Further, the Defendant Assets represent property involved
 8   in or traceable to one or more transactions or attempted transactions
 9   in violation of:
10            a. 18 U.S.C. § 1956(a)(1)(B)(i) (Money Laundering for
11   Concealment) and a conspiracy to commit such offenses, in violation
12   of 18 U.S.C. § 1956(h);
13            b. 18 U.S.C. § 1956(a)(2) (International Money Laundering for
14   Promotion) and a conspiracy to commit such offenses, in violation of
15   18 U.S.C. § 1956(h); and
16            c. 18 U.S.C. § 1957 (Monetary Transactions with Proceeds of
17   SUA) and a conspiracy to commit such offenses, in violation of 18
18   U.S.C. § 1956(h).
19   The Defendant Assets are therefore subject to forfeiture pursuant to
20   18 U.S.C. § 981(a)(1)(A).
21                                JURISDICTION AND VENUE
22         103. This civil forfeiture action is brought pursuant to 18
23   U.S.C. § 981(a)(1).
24         104. This Court has jurisdiction over this matter pursuant to 28
25   U.S.C. §§ 1345 and 1355.
26         105. Venue lies in this district pursuant to 28 U.S.C. §§
27   1355(b)(1)(A) or 1355(b)(2) because acts and omissions giving rise to
28   the forfeiture took place in the Central District of California


                                               24
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 25     26 of
                                                                      of 90     91 ID #:718
                                                                             Page



 1   and/or 28 U.S.C. § 1395(b), because certain of the Defendant Assets
 2   are located in the Central District of California.
 3                               INDIVIDUALS AND ENTITIES
 4         106. Backpage.com, LLC, (“Backpage”) incorporated in Delaware in
 5   2004, was an internet-based company that allowed customers to post
 6   on-line classified advertisements.             These advertisements were posted
 7   in a variety of categories, including adult, automotive, community,
 8   dating, jobs, local places, musicians, rentals and services.                  Prior
 9   to its closure by federal law enforcement authorities in April 2018,
10   Backpage was visited by 75 to 100 million unique internet visitors
11   per month.
12         107. Between 2004 and April 2018, Backpage realized annual
13   profits of tens of millions of dollars from adult advertisements.
14   Historically, the adult category, where Backpage advertisers posted
15   sex trafficking ads, made up less than ten percent of all the
16   website’s advertisements.         However, those ads generated more than 90
17   percent of Backpage’s revenue.
18         108. Lacey was a co-creator of Backpage.com.              Lacey was
19   responsible for the website’s policies and strategic direction, and
20   he maintained significant control over the website during the
21   relevant period described in this complaint.              Even after purportedly
22   selling his interest in Backpage in 2015, Lacey continued to receive
23   tens of millions of dollars in Backpage-related distributions.
24         109. Larkin was a co-creator of Backpage.com.              Larkin was
25   responsible for the website’s policies and strategic direction, and
26   he maintained significant control over the website during the
27   relevant period described in this complaint.              Even after purportedly
28   selling his interest in Backpage in 2015, Larkin continued to receive


                                               25
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 26     27 of
                                                                      of 90     91 ID #:719
                                                                             Page



 1   tens of millions of dollars in Backpage-related distributions.
 2         110. Carl Ferrer (“Ferrer”), though not an original owner, was a
 3   co-creator and one of the original officers of Backpage, having
 4   initially served as Backpage’s vice-president, and later as CEO.
 5   Ferrer is also the CEO of several Backpage-related entities in the
 6   Netherlands, including “Website Technologies,” “Amstel River
 7   Holdings,” and “Ad Tech BV.”
 8         111. Brunst was a minority owner of Backpage who owned 5.67
 9   percent of the company at the time of its inception.                Brunst served
10   as the Chief Financial Officer of Backpage and several of Backpage’s
11   parent companies.
12         112. Spear was a minority owner of Backpage who owned 4.09
13   percent of the company at the time of its inception.                Spear served as
14   Executive Vice President of one of Backpage’s parent companies.
15         113. “M.G.” had no formal position at Backpage, but was the
16   President, Chief Executive Officer, Treasurer, and Secretary of
17   Posting Solutions LLC, a wholly owned Backpage subsidiary with a
18   principal place of business in Dallas, Texas (“Posting Solutions”),
19   which accepted payments from Backpage advertisers.               M.G. was also the
20   Chief Financial Officer of Website Technologies, and directed and
21   controlled many of the international and domestic financial
22   transactions of Backpage and its related entities.
23         114. Daniel Hyer (“Hyer”) served as Backpage’s Sales and
24   Marketing Director.       He remained an account signatory for numerous
25   Backpage-controlled entities, including Website Technologies, until
26   Backpage’s closure.
27         115. Andrew Padilla (“Padilla”) served as Backpage’s Operations
28   Manager.


                                               26
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 27     28 of
                                                                      of 90     91 ID #:720
                                                                             Page



 1         116. Joye Vaught (“Vaught”) served as Backpage’s assistant
 2   Operations Manager.
 3         117. Lacey, Larkin, Ferrer, Brunst, Spear, M.G., Hyer, Padilla,
 4   and Vaught are referred to collectively herein as “Backpage
 5   Operators.”
 6                           EVIDENCE SUPPORTING FORFEITURE
 7   II.   The Formation and Evolution of Backpage
 8         118. Lacey and Larkin were the founders of the Phoenix New
 9   Times, an alternative newspaper based in Arizona.               Lacey and Larkin
10   subsequently acquired several other alternative newspapers that they
11   operated through an entity called Village Voice Media Holdings
12   (“VVMH”).     Spear served as VVMH’s Executive Vice President and Brunst
13   served as VVMH’s Chief Financial Officer.
14         119. As far back as the 1980’s, VVMH publications routinely
15   included ads for prostitution.
16         120. By 2000, the popularity of the website www.craigslist.com
17   (“Craigslist”), which offered free classified ads that included
18   prostitution ads, began to disrupt VVMH’s business, which depended on
19   classified advertising revenue.
20         121. Lacey and Larkin, assisted by Ferrer, sought to address
21   this disruption by creating Backpage, which would compete directly
22   with Craigslist.      As stated in an internal Backpage document, “[I]n
23   2004, in response to the Craigslist threat that was decimating daily
24   newspapers, VVMH launched its own online classified site,
25   Backpage.com, named after the back page of VVMH’s print publication.”
26         122. From 2004 until 2015, Lacey and Larkin bore primary
27   responsibility for Backpage’s policies and strategic direction.                   In
28   2015, Lacey and Larkin purported to sell to Ferrer all or


                                               27
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 28     29 of
                                                                      of 90     91 ID #:721
                                                                             Page



 1   substantially all of their respective interests in Backpage.                  In
 2   fact, Lacey and Larkin retained significant control over Backpage,
 3   and both continued to receive millions of dollars of annual
 4   distributions of Backpage revenue after the purported sale.
 5         123. From its inception, most of Backpage’s earnings represented
 6   the proceeds of illegal activity, specifically prostitution and sex
 7   trafficking, including child sex trafficking.              By 2015, the major
 8   credit card companies were refusing to process payments to or for
 9   Backpage, and banks were closing Backpage’s accounts out of concern
10   the accounts were being used for illegal purposes.
11         124. In response to these measures, the Backpage Operators
12   initiated and pursued a wide variety of money laundering strategies
13   and techniques designed, in part, to conceal the source and location
14   of the revenues generated by Backpage ads, including ads for human
15   trafficking and illegal prostitution.            These strategies included: (a)
16   instructing customers to send checks and money orders to a Post
17   Office box, funneling those funds into bank accounts held in the
18   names of entities with no apparent connection to Backpage, and then
19   giving customers a corresponding “credit” to purchase Backpage ads;
20   (b) accepting Backpage proceeds through foreign bank accounts and
21   thereafter redirecting the funds to Backpage Operators in the U.S.
22   and abroad, or transferring the funds back to domestic bank accounts
23   (to conceal the nature, source, location, ownership and control of
24   those funds and promote Backpage’s ongoing illegal operations); and
25   (c) converting customers payments and the proceeds of Backpage’s
26   illegal business into and out of digital currency.5
27
           5Digital currency (also known as crypto-currency) is generally
28   defined as an electronic-sourced unit of value that can be used as a
                                             (footnote cont’d on next page)

                                               28
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 29     30 of
                                                                      of 90     91 ID #:722
                                                                             Page



 1   III. The Sources and Manipulation of Backpage Criminal Proceeds
 2          A.   Backpage Promotion of Prostitution and Sex Trafficking
 3          125. Numerous Backpage ads were used to sell minors for sex and
 4   forcibly traffic adult women for sex.            Among the pimps and sex
 5   traffickers who used Backpage to advertise their victims were many
 6   who were later convicted of sex trafficking offenses.                For example,
 7          a.   During 2014 and 2015, a pimp sold S.F., a minor girl, for
 8   sex.    The pimp advertised S.F. on Backpage’s “Escort” section in the
 9   Los Angeles area of California and in Arizona.              The ad contained
10   phrases such as “New In Town” and “Sexy Dark Asian Bombshell with a
11   Nice & Tight {Booty}.”        The ad selling S.F. on Backpage included
12   multiple pictures showing her legs, stomach, shoulders and buttocks.
13   The pimp who placed the ad was ultimately arrested, convicted on
14   state sex trafficking charges, and sentenced to 196 years
15   imprisonment.
16          b.   During 2014 and 2015, the same pimp sold A.C., a minor
17   girl, for sex.      In November 2014, at the age of 17, A.C. was first
18   sold for sex through a Backpage ad using phrases such as “NEW IN
19   TOWN,” “sexy sweet,” and “sweet like honey but super hot like fire.”
20   The Backpage ad selling A.C. included pictures of her showing her
21   legs, stomach, shoulder, and buttocks, and posed in sexually
22   provocative positions.
23          c.   Between November and December 2015, a pimp drove two women
24   and four minor girls (T.S., S.L., K.O., and R.W.) from Columbus, Ohio
25
26   substitute for fiat currency (i.e., currency created and regulated by
     a sovereign government). It exists entirely on the Internet and is
27   not stored in any physical form. It is not issued by any government,
     bank, or company, but is instead generated and controlled through
28   computer software operating on a decentralized peer-to-peer network.
     Bitcoin, Bitcoin Cash and Litecoin are types of crypto-currency.

                                               29
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 30     31 of
                                                                      of 90     91 ID #:723
                                                                             Page



 1   to a hotel in St. Charles, Missouri.             The next day, the pimp told the
 2   girls to post ads on Backpage.com.             Some of the girls took calls and
 3   engaged in paid sex acts with Backpage customers who responded to the
 4   ads.    The ads the girls posted included pictures of them on a bed
 5   showing their buttocks.        Another image featured a naked girl’s body
 6   pressed against a mirror.         Other pictures appeared more mundane, such
 7   as images of girls posing clothed in front of a mirror.                However,
 8   these ads used phrases like “I’m sweet as a treat maybe even sweeter”
 9   and “not a lot need to be said. my pic are 100% real.”                In 2017, this
10   pimp was convicted of Federal sex trafficking charges and sentenced
11   to 300 months in prison.
12          d.   In or around 2010, in Washington, J.S., a minor girl, was
13   sold for sex through the use of Backpage ads.              J.S.’s pimp drafted
14   the ads, which contained words and phrases such as,
15   “W’E’L’L_W’O’R’T’H_I’T***^***150HR” and “IT WONT TAKE LONG AT ALL.”
16   The ads included pictures of J.S. in provocative positions showing
17   her breasts and buttocks.         On March 29, 2011, the pimp who sold J.S.
18   for sex was sentenced to over 26 years’ imprisonment on Federal
19   charges related to sex trafficking.
20          e.   Between 2011 and 2016, a female victim, D.O., who was
21   between the ages of 14 and 19 during those years, was sold for sex
22   through Backpage ads.       D.O.’s female pimp instructed D.O. that
23   Backpage was the safest place to advertise because Backpage did not
24   require age verification.         D.O.’s Backpage ads included words and
25   phrases that were indicative of prostitution, such as “roses” (money)
26   and “back door” (anal sex).         Some of the customers who responded to
27   D.O.’s Backpage ads forced D.O. to perform sexual acts at gunpoint,
28   choked her to the point of having seizures, and gang-raped her.


                                               30
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 31     32 of
                                                                      of 90     91 ID #:724
                                                                             Page



 1         126. Plaintiff alleges that all levels of Backpage management,
 2   including the Backpage Operators, were aware of Backpage’s role in
 3   promoting criminal activity.         For example:
 4         a.    On September 21, 2010, a group of state attorneys general
 5   (“AG”) wrote a letter to Backpage observing that “ads for
 6   prostitution-including ads trafficking children-are rampant on the
 7   site,” and arguing that “[b]ecause Backpage cannot, or will not,
 8   adequately screen these ads, it should stop accepting them
 9   altogether.”     The state AGs acknowledged that this step would cause
10   Backpage to, “lose the considerable revenue generated by the adult
11   services ads,” but stated that “no amount of money can justify the
12   scourge of illegal prostitution, and the misery of the women and
13   children who will continue to be victimized in the marketplace
14   provided by Backpage.”
15         b.    Also in mid-September 2010, Ferrer wrote an email
16   explaining that Backpage was unwilling to delete ads that included
17   terms indicative of prostitution because doing so would “piss[] off a
18   lot of users who will migrate elsewhere,” and force Backpage to
19   refund those customers’ fees.
20         c.    In January 2017, the U.S. Senate Subcommittee on Permanent
21   Investigations (“Subcommittee”) conducted a lengthy investigation
22   into sex trafficking and Backpage, resulting in a 50-page report
23   entitled “Backpage.com’s Knowing Facilitation of Online Sex
24   Trafficking.”     The report concluded, among other things, that
25   virtually all of Backpage’s “adult” ads were actually solicitations
26   for illegal prostitution services and that “Backpage [] maintained a
27   practice of altering ads before publication by deleting words,
28   phrases, and images indicative of criminality, including child sex


                                               31
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 32     33 of
                                                                      of 90     91 ID #:725
                                                                             Page



 1   trafficking . . . .       Those practices served to sanitize the content
 2   of innumerable advertisements for illegal transactions-even as
 3   Backpage represented to the public and the courts that it merely
 4   hosted content others had created.”            In response to the
 5   Subcommittee’s report, Backpage purported to shut down the “adult”
 6   section of its website.        However, a review of several thousand
 7   Backpage ads demonstrated that the prostitution ads simply migrated
 8   to other sections of the website, where they remained accessible
 9   until the site was forced to shut down.
10         d.    On August 5, 2011, Backpage received a letter from the
11   mayor of Seattle.      This letter warned, “Seattle Police have
12   identified an alarming number of juvenile prostitutes advertised on
13   Backpage.com since January 2010,” and explained that Backpage was
14   dissimilar from other companies whose products and services are
15   “occasionally or incidentally” utilized by criminals because “[y]our
16   company is in the business of selling sex ads” and “your services are
17   a direct vehicle for prostitution.”            The letter recommended that
18   Backpage require in-person age verification for all of the “escorts”
19   depicted in its ads.       Backpage never instituted an in-person age
20   verification requirement.
21         127. Backpage instituted and maintained policies and procedures
22   designed to cultivate and sustain its promotion of sex trafficking
23   and prostitution, but which “sanitized” some of the language Backpage
24   customers used to advertise in order to make the advertising of sex
25   trafficking less overt.        Backpage referred to this practice as
26   “moderation.”     For example:
27         a.    In April 2008, Ferrer wrote an email explaining that,
28   although he (Ferrer) was “under pressure to clean up Phoenix’s adult


                                               32
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 33     34 of
                                                                      of 90     91 ID #:726
                                                                             Page



 1   content,” he was unwilling to delete prostitution ads because doing
 2   so “would put us in a very uncompetitive position with craig[slist]”
 3   and result in “lost pageviews and revenue.”             Ferrer instructed
 4   Backpage’s technical staff to edit the wording of such ads by
 5   removing particular terms that were indicative of prostitution, but
 6   allow the remainder of the ad to be featured on Backpage’s website.
 7         b.    On October 8, 2010, a Backpage manager sent an email to
 8   certain Backpage employees and managers threatening to fire any
 9   Backpage employee who acknowledged, in writing, that a customer was
10   advertising prostitution:         “Leaving notes on our site that imply that
11   we’re aware of prostitution, or in any position to define it, is
12   enough to lose your job over. . . .            This isn’t open for discussion.
13   If you don’t agree with what I’m saying completely, you need to find
14   another job.”
15         c.    On October 16, 2010, the same Backpage manager sent an
16   email to a large group of Backpage employees that contained two
17   attachments providing guidance on how to “moderate” ads.                 The first
18   was a PowerPoint presentation that displayed a series of 38 nude and
19   partially-nude photographs, some of which depicted graphic sex acts.
20   Next to each picture was an instruction as to whether it should be
21   approved or disapproved by a Backpage moderator.               These instructions
22   included “Approve.       Nude rear shots are okay as long the model is not
23   exposing her anus or genitalia.” and “Approve.              Rear shot okay.
24   Transparent wet panties okay.”          The second attachment was an Excel
25   spreadsheet identifying 50 terms (all of which were indicative of
26   prostitution) that should be “stripped” from ads before publication.
27   The Backpage manager concluded the email by stating, “[I]t’s the
28   language in ads that’s really killing us with the Attorneys General.


                                               33
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 34     35 of
                                                                      of 90     91 ID #:727
                                                                             Page



 1   Images are almost an afterthought to them.”
 2         d.    On October 16, 2010, the same Backpage manager sent an
 3   internal email explaining, “I’d like to still avoid Deleting ads when
 4   possible;” “we’re still allowing phrases with nuance;” and “[i]n the
 5   case of lesser violations, editing should be sufficient.”
 6         e.    On October 25, 2010, Ferrer sent an email to Padilla
 7   acknowledging that the “[i]llegal content removed” through Backpage’s
 8   moderation processes was “usually money for sex act.”                This email
 9   also explained that, after the “sex act pics are removed,” the “ad
10   text may stay.”
11         f.    On October 27, 2010, a different Backpage manager sent an
12   internal email stating that Backpage was “editing 70 to 80%” of the
13   ads it received from customers.
14         g.    On June 7, 2011, Ferrer received an inquiry from a law
15   enforcement official about a particular ad that included the term
16   “amber alert.”      In response, Ferrer acknowledged this might be “some
17   kind of bizarre new code word for an under aged person.”                 Ferrer then
18   forwarded this exchange to a Backpage manager and instructed that the
19   term “amber alert” be added to Backpage’s “strip out” list.
20         h.    On August 31, 2011, Backpage managers exchanged emails in
21   which they discussed a list of 100 “solid sex for money terms.”
22   Later emails indicate that this list of terms changed but, in
23   general, the list prohibited use of certain terms that Backpage
24   management and employees closely identified with the obvious
25   promotion of sex trafficking and prostitution.
26         i.    One Backpage manager acknowledged in the August 31, 2011
27   email exchange that a large proportion of the ads originally
28   submitted by Backpage’s customers contained text and pictures that


                                               34
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 35     36 of
                                                                      of 90     91 ID #:728
                                                                             Page



 1   were indicative of sex trafficking.            Nevertheless, Backpage published
 2   those ads after editing them to appear less obvious in promoting
 3   illegal activity.      Backpage sex trafficking ads adapted to Backpage’s
 4   moderation policy by using “phrases with nuance” when promoting sex
 5   trafficking.     Following the implementation of “moderation,”
 6   Backpage’s list of prohibited terms changed and evolved over time to
 7   adjust to Backpage advertisers’ use of new code words to promote
 8   prostitution.     In other words, once a code word or phrase not
 9   previously associated with sex-for-money became too familiar, or was
10   deemed too closely associated with certain sex trafficking activities
11   in the Backpage community of advertisers, Backpage’s “moderation”
12   policy would be adapted by adding such words or phrases to the
13   “blocked” list or risk being too obvious in its promotion.
14         128. Plaintiff alleges that Backpage’s policy of “moderation”
15   only caused ads explicitly promoting sex trafficking to become more
16   coded and implicit in the ads’ purpose.
17         a.    Well over half of the Backpage classified ads in various
18   Backpage categories used terms and phrases (including “massage,”
19   “dating,” “escort” and others) that are consistent with sex
20   trafficking and prostitution.          These terms and phrases included,
21   “roses” (money, e.g., “150 roses/half hour”), “in-call” (where the
22   customer goes to the prostitute’s location), “outcall” (where the
23   prostitute goes to the customer’s location), “GFE” (girlfriend
24   experience), and “PSE” (porn star experience).
25         b.    Other Backpage ads used language that was mostly free of
26   coded language, but included sexually provocative images.                 The
27   sexually suggestive images included in these ads were typical of ads
28   for prostitution.      For example, one such ad posted in Backpage’s Los


                                               35
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 36     37 of
                                                                      of 90     91 ID #:729
                                                                             Page



 1   Angeles dating section depicted images of a woman on a bed with her
 2   buttocks presented in a sexual manner; another included a picture of
 3   a woman’s cleavage; others included pictures of women posing in
 4   sexual positions wearing lingerie and pictures of a woman bending
 5   over, revealing her naked buttocks.
 6         c.    Backpage’s policy of moderation had the effect of causing
 7   and allowing otherwise neutral or innocuous terms to be understood
 8   within the Backpage community as coded language for sex trafficking
 9   and prostitution.      Because of the evolving use of coded terms, a
10   reader of such ads who was familiar with the particular vocabulary
11   used in Backpage “adult” ads could readily identify coded terms and
12   images indicating an ad for prostitution, while an uninitiated reader
13   may not understand these terms at all, or at least not as being
14   associated with sex-for-money.
15        129. Almost all “adult”-type Backpage ads listed phone numbers
16   or emails that a potential customer could use to make contact with
17   the advertiser.      Comparing a sample of phone numbers and emails found
18   within Backpage ads with phone numbers and emails that were
19   frequently included in the memo sections of checks that Backpage
20   advertisers use to pay Backpage for ads, revealed that the same
21   numbers and/or email addresses appeared in multiple Backpage ads as
22   contact information.       For example:
23         a.    A $25 USPS Money Order purchased on June 15, 2017, in
24   Duarte, California, made payable to “Posting Solutions PO BOX 802426,
25   Dallas, TX,” and thereafter deposited into Account 1, bore a notation
26   listing a phone number and the words “Dulce Latina.”                A search of
27   Backpage ads showed almost 800 advertisements listing the same phone
28   number.


                                               36
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 37     38 of
                                                                      of 90     91 ID #:730
                                                                             Page



 1         b.    A $20 USPS Money Order purchased in Sacramento, California,
 2   and later deposited into Account 1, bore a notation listing a phone
 3   number and the words “love my lips.”            A search of Backpage ads
 4   revealed almost 1300 advertisements listing the same phone number.
 5         c.    A $150 Wells Fargo Bank Money Order, purchased in Arizona,
 6   and made payable to “Posting Solutions,” bore an email address and
 7   the words, “red hot stuff.”         The same email address was found to be
 8   associated with advertisements on several female escort websites that
 9   directed customers to contact an Arizona phone number ending in 2397.
10   A search of Backpage.com for this phone number revealed approximately
11   760 ads that included this phone number.             These Backpage ads included
12   images indicative of prostitution.             For example, one such ad posted
13   on Backpage’s “massage” section included sexual images such as a
14   woman lying on a bed wearing lingerie and a woman laying naked on her
15   stomach.    One of the ads described, “Pampering provider | Body Rub
16   Massage | Body Shampoo | Body Scrub | 4 hands | Walk ins or
17   appointment.”     Legal massage advertisements do not typically depict
18   sexual images.      This advertisement depicted sexual images and
19   included terms like “4 hands,” which is coded language describing a
20   massage given to a customer by two women.             Such advertisements are
21   indicative of prostitution.
22         130. The Backpage ads that shared the same phone number or email
23   address typically also included sexually suggestive images of
24   different women.      Such ads are consistent with ads posted by pimps or
25   prostitution agencies that are using the same phone number or email
26   to advertise different women (or girls) to prospective prostitution
27   clients.
28


                                               37
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 38     39 of
                                                                      of 90     91 ID #:731
                                                                             Page



 1         B.    Payments for Advertising on Backpage
 2         131. In order to post an ad on Backpage, an advertiser had to
 3   pay Backpage by one of several methods, including check, cash, and,
 4   until about 2015, credit card payments processed through U.S. credit
 5   card payment processors.        The proceeds from these ads, the vast
 6   majority of which were sexually explicit in nature, would then be
 7   deposited into various Backpage owned or controlled bank accounts.
 8   For example, Backpage’s U.S. Bank account ‘1165, originated in or
 9   about April 2010, received several million dollars from the revenue
10   generated from the sale of ads, including ads promoting the
11   trafficking of minors and illegal prostitution.
12         132. However, in or around 2015, following negative publicity
13   associated with Backpage, some of the major credit card companies
14   enacted what Backpage Operators termed a “blockade.”                Essentially,
15   these companies refused to process credit card payments directed to
16   Backpage.    In order to circumvent the blockade, Ferrer and other
17   Backpage Operators set up agreements with foreign persons and
18   partners to “franchise” websites for the sole purpose of accepting
19   credit card payments outside of the United States, with the funds
20   being funneled to Backpage.
21         133. Also in or around 2015, in response to the blockade,
22   Backpage designed a mechanism to allow advertisers to buy Backpage
23   “credits,” which could be accomplished in several ways, including:
24         a.    Mailing gift cards, checks, or money orders to “Posting
25   Solutions” at a P.O. Box in Dallas, Texas;
26         b.    Using a credit card to buy credits through a third-party
27   credit card payment processor;
28         c.    Paying with digital currency (specifically, Backpage


                                               38
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 39     40 of
                                                                      of 90     91 ID #:732
                                                                             Page



 1   accepted Bitcoin, Bitcoin Cash, Litecoin, and Ethereum).                 If the
 2   advertiser selected this option, Backpage provided a digital currency
 3   wallet address where the advertiser could send the electronic
 4   transfer of the digital currency; and
 5         d.    Paying with currency through a third party payment
 6   processor.     Once the third-party payment processor received the
 7   currency, it would convert it to digital currency and then
 8   electronically transfer that digital currency to a Backpage digital
 9   currency wallet.
10         134. Digital Currency was processed through the defendant
11   accounts in the following way:
12         a.    When Backpage received digital currency, it would aggregate
13   the digital currency and transfer it to a third-party exchanger like
14   GoCoin;6
15         b.    In exchange for the digital currency, the exchanger would
16   transfer U.S. dollars from its foreign bank account(s) into Backpage
17   operating accounts in the United States or elsewhere.                The exchanger
18   could then sell its Bitcoin on various Bitcoin markets.
19         135. Bitcoin payments for ads have resulted in the trafficking
20   of minors for sex.       For example:
21         a.    On September 6, 2015, a Bitcoin account associated with the
22   owner of the email address later convicted of having trafficked
23   minors for sex paid Backpage about $4 worth of Bitcoin in order to
24   post an ad promoting the trafficking of certain victims in Palm
25
26         6GoCoin is a digital currency exchanger that converts Bitcoin
     and another digital currency into fiat currency, like the U.S. Dollar
27   or the Euro. GoCoin is owned by Manx Broadcasting Corporation, based
     in the Isle of Man. GoCoin has offices in Singapore and Santa
28   Monica, California, and GoCoin holds bank accounts in several
     countries, most or all of which are outside the United States.

                                               39
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 40     41 of
                                                                      of 90     91 ID #:733
                                                                             Page



 1   Springs, California.
 2         b.    On September 15, 2015, an email from the same email address
 3   owner indicated a payment to Backpage of about $8 worth of Bitcoin in
 4   order to “Fund Account”7 for palmsprings.backpage.com.
 5         c.    On October 6, 2015, the same email address owner paid
 6   Backpage about $1 worth of Bitcoin to “Fund Account” on
 7   palmsprings.backpage.com.
 8         d.    On October 30, 2015, a Bitcoin account associated with the
 9   owner of the email address who trafficked minors for sex paid
10   Backpage about $1 worth of Bitcoin in order to post an ad promoting
11   the trafficking of certain victims in Columbus, Ohio.
12         e.    On November 2, 2015, this same email address owner paid
13   Backpage about $1 worth of Bitcoin to “Move Ad to Top of Listings” in
14   the Columbus, Ohio Backpage ads; and
15         f.    On November 21, 2015, this same email address owner paid
16   Backpage about $1 worth of Bitcoin to Backpage for credit for that
17   email owner’s Backpage ad account.
18         136. Plaintiff contends that five to ten percent of the ads
19   posted on Backpage.com were placed within the Central District of
20   California (including Los Angeles and Orange Counties).                Between
21   January 10 and February 3, 2016, approximately 500,000 ads were
22   posted on Backpage.com and paid for with Bitcoin, for which Backpage
23   received over $3,840,000 in revenue.           Of these approximately 500,000
24   ads, approximately 28,400 were posted only in
25   LosAngeles.Backpage.com, Ventura.Backpage.com,
26   SanLuisObispo.Backpage.com, OrangeCounty.Backpage.com, and
27
           7The email address owner provided Bitcoin to Backpage as a
28   “Fund Account” payment, that is, payment to Backpage as credit to be
     used later to pay for Backpage ads.

                                               40
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 41     42 of
                                                                      of 90     91 ID #:734
                                                                             Page



 1   SanGabrielValley.Backpage.com.          These specific ads generated
 2   approximately $184,479 in revenue.
 3         137. When an advertiser (or “poster”) purchased an ad for
 4   prostitution using digital currency, the payment to Backpage (and
 5   certain subsequent expenditures) proceeded in the following manner:
 6         a.    A poster would choose a payment method online (e.g.,
 7   through Bitcoin payments);
 8         b.    If the poster did not already have Bitcoin, the Backpage
 9   website would direct the poster to a third-party exchanger to buy
10   Bitcoin;
11         c.    Backpage would then provide the poster with a wallet
12   address to send a specific amount of Bitcoin;
13         d.    In return for sending the required payment, the poster
14   would receive credit that could be used to post ads on Backpage.
15         e.    Backpage would sell the Bitcoin to a third party exchanger,
16   frequently GoCoin, in batches generally valued in hundreds of
17   thousands of dollars, in order to convert the Bitcoin into U.S. or
18   foreign flat currency, which GoCoin generally, if not always, would
19   hold in foreign bank accounts;
20         f.    GoCoin would then wire funds from foreign accounts to
21   either (1) Backpage controlled foreign accounts; or (2) Backpage
22   controlled operating accounts in the United States;
23         g.    These accounts were held and controlled by Backpage
24   Operators in the names of entities controlled by Backpage, including
25   Ad Tech BV, Posting Solutions, Website Technologies, and Cereus
26   Properties;
27         h.    The funds derived from these foreign transactions would be
28   used by Backpage to pay service providers, like Verizon in Los


                                               41
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 42     43 of
                                                                      of 90     91 ID #:735
                                                                             Page



 1   Angeles, or transferred to Backpage Operators’ accounts and accounts
 2   held in their family members’ names; and
 3         i.    For example:
 4               a.      In March 2015, Ad Tech BV, a Netherlands based
 5   company, listing Ferrer as CEO and M.G. as CFO, opened a bank account
 6   in the Netherlands (the “Netherlands Account”).              M.G. is the
 7   President, CEO, Treasurer and Secretary of Posting Solutions.                  From
 8   March 2015 through November 2017, the Netherlands Account received
 9   millions of dollars from Binary Trading SG PTE, Limited (“Binary
10   Trading”).       On April 4, 2017, M.G. sent an email to employees of the
11   bank that maintained the Netherlands Account.              The email explained:
12         Binary Capital is our trading partner, they hold money in
           trust for Go Coin [sic]. Rather than incurring 3 sets of
13         wire fees which make our transactions unprofitable, they
14         act as our agent and disburse payments directly from our
           trust account to our merchant.
15
16               b.     For the period of September 4 through November 23,
17   2015, Backpage advertisers used Bitcoin to purchase about 1,000,000
18   “adult” ads from Backpage.         Backpage then sold those Bitcoin to
19   GoCoin for approximately $8.6 million.            Included among the Bitcoin
20   sold to GoCoin during this period were payments that pimps made to
21   Backpage in order to purchase ads to promote child prostitution.
22               c.     For the period of December 14, 2015, through August
23   30, 2016, in approximately 154 wires, GoCoin accounts held in
24   Slovakia (the “Slovakia Account”) and Singapore (the “Singapore
25   Account”) transferred a total of approximately $26,100,235.83 to
26   Branch Banking & Trust account ‘2008, in Plano, Texas, owned by
27   Website Technology (“Website Tech Account ‘2008”).               On January 15,
28   2016, the Website Tech Account ‘2008 transferred $189,571 to Verizon


                                               42
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 43     44 of
                                                                      of 90     91 ID #:736
                                                                             Page



 1   in Los Angeles, California, in payment for Backpage internet
 2   services.
 3               d.      Between January 21 and August 31, 2016, Website Tech
 4   Account ‘2008 sent approximately 27 wire transfers totaling
 5   approximately $48,000,000 to Arizona Bank & Trust account number
 6   ‘6211, belonging to Cereus Properties LLC, which is owned or
 7   controlled by Spear, Backpage, and/or other Backpage Operators.
 8         C.    Bank Accounts Funded with Proceeds Traceable to SUA,
                 Involved in Money Laundering, or Both
 9
           138. Between December 14, 2015, and February 9, 2017, a
10
     coordinated series of wire transfers were completed transferring
11
     criminal proceeds from Backpage-controlled bank accounts to four
12
     separate bank accounts at the USAA Savings Bank.               All the USAA
13
     Savings Bank accounts were held in the name of different living
14
     trusts with the common factor of Hawkins being one of the Trustees on
15
     all four accounts.       Hawkins is the sister-in-law of Larkin.
16
           139. Criminal proceeds deposited with a company doing business
17
     for GoCoin initiated wire transfers of the criminal proceeds from the
18
     Slovakia account to Website Tech Account ‘2008 in the United States.
19
           140. Website Tech Account ‘2008 then initiated wire transfer of
20
     the criminal proceeds to Arizona Bank & Trust Account number ‘6211
21
     (“AZBT ‘6211”), belonging to Cereus Properties LLC.
22
           141. On    January 4, 2017, AZBT ‘6211 initiated four wires:
23
           a.    $33,591.34 to Charles Schwab account ‘6039 held in the name
24
     of Oaxaca Living Trust with Kathleen D. Larkin as the sole
25
     beneficiary (“Schwab ‘6039”);
26
           b.    $33,591.34 to Charles Schwab account ‘9083, held in the
27
     name of Puebla Living trust with Rose L. Larkin as the sole
28


                                               43
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 44     45 of
                                                                      of 90     91 ID #:737
                                                                             Page



 1   beneficiary (Schwab ‘9083”);
 2         c.    $33,591.34 to Charles Schwab account ‘7249, held in the
 3   name of Cuernavaca Living Trust with Quinn M. Larkin as the sole
 4   beneficiary (“Schwab ‘8628”); and
 5         d.    $33,591.34 to Charles Schwab account ‘8628, held in the
 6   name of Chiapas Living trust with John C. Larkin as the sole
 7   beneficiary (“Schwab ‘8628”).
 8         142. Several days after the criminal proceeds were deposited
 9   into the four Charles Schwab accounts, they were then transferred to
10   four AZBT accounts.
11         a.    On January 10, 2017 Schwab ‘6039 wired $840,692.69 to
12   Arizona Bank & Trust account ‘3835, held in the name of Oaxaca Living
13   Trust UTA with Lacey and Hawkins as the Trustees and Kathleen
14   Dewhurst Larkin as the beneficiary (“AZBT ‘3835”);
15         b.    On January 11, 2017 Schwab ‘9083 wired $840,672.72 to
16   Arizona Bank & Trust account ‘3864 held in the name of Puebla Living
17   Trust UTA with Lacey and Hawkins as the Trustees and Rose Lyons
18   Larkin as the beneficiary (“AZBT ‘3864”);
19         c.    On January 12, 2017 Schwab ‘7249 wired $840,672.70 to
20   Arizona Bank & Trust account ‘3859 held in the name of Cuernavaca
21   Living Trust UTA with Lacey and Hawkins as the Trustees and Quinn
22   McCarthy Larkin as the beneficiary (“AZBT ‘3859”); and
23         d.    And on January 10, 2017 Schwab ‘8628 wired $840,672.70 to
24   Arizona Bank & Trust account ‘3840 held in the name of Chiapas Living
25   Trust UTA with Lacey and Hawkins as the Trustees and John Carey
26   Larkin as the beneficiary (“AZBT ‘3840”).
27         143. On January 11, 2018, and in addition to the previous wire
28   transfers, AZBT ‘6211 transferred $33,591.34 to each of the Living


                                               44
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 45     46 of
                                                                      of 90     91 ID #:738
                                                                             Page



 1   Trust accounts, AZBT ‘3835, AZBT ‘3864, AZBT ‘3859, and AZBT ‘3840.
 2         144. On February 9, 2017, the four Oaxaca Living Trust account,
 3   AZBT ‘3835, AZBT ‘3864, AZBT ‘3859, and AZBT ‘3840, wire transferred
 4   approximately $874,330 to:
 5         a.    USAA Savings Account ‘2155 (“USAA ‘2155” or “Account 59”);
 6         b.    USAA Savings Account ‘2058 (“USAA ‘2058” OR “Account 60”);
 7         c.    USAA Savings Account ‘2171 (“USAA ‘2171” or Account 61”);
 8   and
 9         d.    USAA Savings Account ‘1507 (“USAA ‘1507” or Account 62”).8
10         D.    Bases for Forfeiture
11         145. The Defendant Assets constitute, and are derived from,
12   proceeds traceable to one or more violations of 18 U.S.C. §§ 1591
13   (Sex Trafficking of Children), and/or 1952 (Interstate and Foreign
14   Travel in Aid of Racketeering Enterprise), each of which is SUA under
15   18 U.S.C. § 1956(c)(7)(A), and a conspiracy to commit such offenses.
16         146. The Defendant Assets were involved in, and are traceable to
17   property involved in, one or more transactions or attempted
18   transactions in violation of 18 U.S.C. § 1956(a)(1)(B)(i) and a
19   conspiracy to commit such offenses, in violation of 18 U.S.C.
20   § 1956(h).     Specifically, the Defendant Assets were involved in and
21   are traceable to property involved in one or more financial
22   transactions, attempted transactions, or a conspiracy to conduct or
23   attempt to conduct such transactions involving the proceeds of
24   specified unlawful activity, that is, 18 U.S.C. §§ 1591 and 1952, and
25   were designed in whole or in part to conceal or disguise the nature,
26
27         8Accounts 59, 60, 60, and 62, are all held in the name of Anne
     Hawkins, a sister-in-law to Larkin, and were funded with proceeds
28   alleged to have been traceable to SUA, involved in money laundering,
     or both.

                                               45
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 46     47 of
                                                                      of 90     91 ID #:739
                                                                             Page



 1   location, source, ownership or control of the proceeds of the SUA in
 2   violation of 18 U.S.C. § 1956(a)(1)(B)(i).
 3         147. The Defendant Assets were involved in, and are traceable to
 4   property involved in, one or more transactions or attempted
 5   transactions in violation of 18 U.S.C. § 1957, or a conspiracy to
 6   commit such offenses, in violation of 18 U.S.C. § 1956(h).
 7   Specifically, the Defendant Assets were involved in and are traceable
 8   to property involved in one or more financial transactions, attempted
 9   transactions, or a conspiracy to conduct or attempt to conduct such
10   transactions in criminally derived property of a value greater than
11   $10,000 that was derived from SUA, that is, 18 U.S.C. §§ 1591 and
12   1952.
13   IV.   Assets Representing, Traceable To, and Involved In
           Specified Unlawful Activity
14
           A.    Account 1 (Prosperity ‘7188 Funds)
15
           148. On February 15, 2017, Posting Solutions opened Account 1.
16
     M.G. is the sole signatory on the account (as described above,
17
     Posting Solutions is wholly owned by and controlled by Backpage).
18
           149. The application for the P.O. Box identifies the renter of
19
     the box as “Website Technologies, LLC/Backpage.com.”                Listed on the
20
     Application were the names of several Backpage Operators, including
21
     Ferrer.
22
           150. Between August 1 and September 1, 2017, Account 1 received
23
     more than $2,781,750 in wire transfers from foreign banks.                 For
24
     example:
25
           a.    On or about August 16, 2017, Binary Trading wired $535,500
26
     from an account in Singapore into Account 1;
27
           b.    On or about August 17, 2017, Binary Trading wired $528,500
28


                                               46
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 47     48 of
                                                                      of 90     91 ID #:740
                                                                             Page



 1   from a Singapore account into Account 1; and
 2         c.    On or about August 30, 2017, a company named Trilix PTE LTD
 3   (“Trilex”), listing the same Singapore address as Binary Trading and
 4   GoCoin, sent four wire transfers from the Singapore account into
 5   Account 1, ranging from $385,450 to $492,250, totaling approximately
 6   $1,717,750.
 7         151. Plaintiff alleges that a substantial percentage of outgoing
 8   payments from Account 1 have been payments for the operation of
 9   Backpage.com.     For example, between July and October 2017, funds were
10   wired from Account 1, as following:
11         a.    $570,530 to Verizon Digital Media Services in Los Angeles
12   for services related to the Backpage.com website; and
13         b.    $1,497 to “Backupify,” a company that provided data backup
14   services for Backpage.
15                               CEREUS PROPERTIES ASSETS
16         B.    Account 2 (Compass ‘3873 Funds)
17         152. Account 2 was held in the name of Cereus Properties LLC.,
18   and Spear was the sole signatory.           This account was funded in part
19   with transfers from Account 1, which funds are alleged to have been
20   traceable to SUA, involved in money laundering, or both, and was used
21   as a funnel account to pay Backpage Operators.              On average, during
22   each month of 2017, several hundred thousand dollars were transferred
23   from Account 1 to Account 2.         For example:
24         a.    On August 31, 2017, Account 1 sent a wire transfer totaling
25   $487,491.45 to Account 2;
26         b.    On September 15, 2017, Account 1 sent a wire transfer
27   totaling $91,672.67 to Account 2; and
28         c.    On October 2, 2017, Account 1 sent a wire transfer totaling


                                               47
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 48     49 of
                                                                      of 90     91 ID #:741
                                                                             Page



 1   $471,766 to Account 2.
 2         153. Funds from Account 2 were also used to promote and
 3   facilitate prostitution.        For example:
 4         a.    On December 2, 2016, the Netherlands Account transferred
 5   $324,055.85 to Account 2;
 6         b.    On December 8, 2016, the Netherlands Account transferred
 7   $499,970.00 to Account 2;
 8         c.    On December 27, 2016, the Netherlands Account transferred
 9   $199,970.00 to Account 2; and
10         d.    From March to December 2017, Account 2 paid over $9,000 to
11   “Cox Communications,” an internet services company that Backpage used
12   to facilitate its internet presence and promote its sale of
13   prostitution advertising.
14         C.    Account 3 (Compass ‘4862 Funds)
15         154. Account 3, held in the name of Cereus Properties, was
16   funded with transfers from foreign and domestic banks, which funds
17   were traceable to SUA, involved in money laundering, or both,
18   including funds transferred from the Netherlands Account through one
19   of the Backpage Operators’ go-between accounts9 (Wells Fargo Bank
20   account ‘9863 (“Account ‘9863”)), and eventually funneled into
21   Account 3.
22
23
24
25
26
27         9A “go-between” (a.k.a., a “pass-through”) is an account set up
     for the main purpose of transferring funds from one or more bank
28   accounts to various other bank accounts, frequently as an attempt to
     further conceal the true source and nature of the funds.

                                               48
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 49     50 of
                                                                      of 90     91 ID #:742
                                                                             Page



 1                                 MICHAEL LACEY ASSETS10
 2         D.    Account 4 (FFS&L of SR ‘3620 Funds)
 3         155. Account 4, held in the name of Lacey, was funded with
 4   transfers from foreign and domestic banks, which funds were traceable
 5   to SUA, involved in money laundering, or both.              On October 2, 2017,
 6   Account 24 (which was itself funded with transfers from foreign and
 7   domestic banks with proceeds traceable to SUA, involved in money
 8   laundering, or both), transferred $297,795 into Account 4, as further
 9   described below.
10        E.     Accounts 5, 7-10 (RBA ‘2485, ‘3126, ‘8316, ‘8324, and
     ‘8332)
11
12         156. Accounts 5 and 7, each held in the name of Lacey, were
13   funded with transfers from foreign and domestic banks, which funds
14   were traceable to SUA, involved in money laundering, or both.
15   Backpage Operators used Accounts 5 and 7 as pass-through accounts.
16         a.    On May 31, 2017, Account 2 transferred approximately
17   $676,808.04 into Account 5;
18         b.    Between September 20, 2017 and December 8, 2017, Account
19   ‘9863 transferred approximately $944,729.25 among seven transaction
20   into Account 3.
21         c.    On December 13, 2017, Account 3 transferred approximately
22   $428,645.09 into Account 5.
23         d.    On March 16, 2018, Account 3 transferred approximately
24   $212,066.52 into Account 5.
25         e.    On April 6, 2018, Lacey personally went into the Republic
26
           10
            On March 20, 2020, pursuant to a stipulation, this Court
27   entered a consent judgment returning approximately $450,376.48 to
     Michael Lacey and Jill Anderson (see ECF No. 99, 2:18-cv-06742-RGK-
28   PJW). As a result, those funds are not included in this Amended
     Consolidated Complaint.

                                               49
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 50     51 of
                                                                      of 90     91 ID #:743
                                                                             Page



 1   Bank of Arizona, withdrew $500,000 from Account 5, and then used that
 2   $500,000 as the initial deposit to open Account 7; and
 3         f.    On October 2, 2017, Account 2 made two transfers:
 4                 i. $297,795.54 transferred to Account 4; and
 5                ii. $694,856.25 wired to Account 11.
 6         g.    On or about February 15, 2018, Lacey drafted two $600,000
 7   checks (totaling $1.2 million).          One check was drawn from Account 11,
 8   and the second was drawn from Account 4.             These two checks were used
 9   to fund Accounts 8, 9, and 10, respectively, with $600,000.00,
10   $300,000.00, and $300,000.00.
11         F.    Account 11 (SFFCU ‘4S10 Funds)
12         157. Account 11 is held in the name of Lacey and an individual
13   listed in the Credit Union’s records as Lacey’s employee and
14   bookkeeper.     Account 11 was funded with proceeds alleged to have been
15   traceable to SUA, involved in money laundering, or both.
16         a.    On February 2, 2018, Account 2 (which then contained funds
17   traceable to SUA, involved in money laundering, or both) transferred
18   $734,602.70 into Account 11.
19         G.    Account 12 (IOLTA ‘4139)
20         158. Account 12 was an IOLTA held for the benefit of Lacey, and
21   was funded with proceeds traceable to SUA, involved in money
22   laundering, or both.
23         159. On January 4, 2017, the Singapore Account wired $489,500
24   into a Posting Solutions controlled account held at Veritex Bank (the
25   “Veritex Account”).       On January 20, 2017, the Singapore Account
26   directed two additional wires, for $358,150 and $470,150
27   respectively, into the Veritex Account.            In total, the Singapore
28   Account transferred $1,317,800 into the Veritex Account.


                                               50
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 51     52 of
                                                                      of 90     91 ID #:744
                                                                             Page



 1         a.    On or about February 23, 2017, the Veritex Account directed
 2   two payments to Account 2, a wire of $443,014, and a check for
 3   $27,887.41;
 4         b.    Between March 30 and September 14, 2017, Account 2 sent
 5   five wires totaling $4,058.063.65 to Account 12; and
 6         c.    In July 2018, Account 12 was closed and a cashier’s check
 7   totaling $2,412,785.47 was issued to Lacey’s Annuity Fund, held at
 8   Account 12.
 9         H.    The Sebastopol Property
10         160. The Sebastopol Property was purchased and maintained, in
11   whole or in part, using funds traceable to SUA, involved in money
12   laundering, or both.
13         161. In a series of transactions in December 2016, illicit
14   proceeds from the Netherlands Account would pass-through Account 2,
15   eventually ending up in Account 11.            Additionally, between July and
16   October 2017, additional illicit proceeds from the Singapore Account
17   were passed-through Account 1 to Account 2, and eventually
18   transferred to Account 11.         On or about October 10, 2017, over
19   $10,000 of funds from Account 11 were used to support and maintain
20   the Sebastopol Property.
21         162. On February 11, 2016, a grant deed, instrument number
22   2016010019 of the Sonoma County official records, transferred the
23   Sebastopol Property to Lacey.          Thereafter, on April 24, 2017, for no
24   consideration, Lacey transferred title of the Sebastopol Property to
25   his Delaware limited liability company, Sebastopol, LLC.                 As noted in
26   the grant deed:
27         “There was no consideration for this transfer. This is a
           transfer between an individual or individuals and a legal
28         entity or between legal entities that results solely in a


                                               51
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 52     53 of
                                                                      of 90     91 ID #:745
                                                                             Page



 1         change in the method of holding title and in which
           proportional ownership inters in the realty remain the
 2         same. . .”
 3
           163. On October 10, 2017, Lacey issued a $12,956.25 check from
 4
     Account 11 to Sonoma County Tax Collector.             The notation on this wire
 5
     was “2043 Pleasant Hill Dr Sebastopol.”
 6
           I.    San Francisco, California Property 1
 7
           164. San Francisco Property 1 was purchased and maintained, in
 8
     whole or in part, using funds traceable to SUA, involved in money
 9
     laundering, or both.
10
           165. In order to acquire San Francisco Property 1, Lacey used
11
     funds transferred through the Singapore Account, the Website Tech
12
     Account ‘2008, and Cereus Properties accounts, as well as annuity
13
     accounts that Lacey controlled, as follows:
14
           a.    Illicit proceeds were deposited into the Singapore Account,
15
     passed-through Account 1, then passed-through Account 2 and
16
     transferred to Account 11.        Thereafter, funds from Account 11 were
17
     used to support and maintain San Francisco Property 1;
18
           b.    On May 18, 2016, a grant deed recorded as instrument number
19
     2016-K245482-00 in the San Francisco County official records,
20
     transferred San Francisco Property 1 to Lacey and his female partner;
21
     and
22
           c.    Thereafter, on October 10, 2017, over $10,000 in funds from
23
     Account 11 were used to purchase or maintain San Francisco Property 1.
24
           J.    San Francisco Property 2
25
           166. San Francisco Property 2 was purchased and maintained, in
26
     whole or in part, using funds traceable to SUA, involved in money
27
     laundering, or both.
28
           167. During the period of December 14 through December 29, 2015,


                                               52
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 53     54 of
                                                                      of 90     91 ID #:746
                                                                             Page



 1   as GoCoin’s partial payment for the Bitcoin Backpage sold it during
 2   the period of September 4 through November 23, 2015, the Slovakia
 3   Account wired over $1,250,000 to Website Tech Account ‘2008.
 4         168. After December 14, 2015, Website Tech Account ‘2008 then
 5   transferred funds via multiple pass-through accounts controlled by
 6   Lacey and other Backpage Operators, which, as of June 21, 2016,
 7   resulted in approximately $5,400,000 ending up in Arizona Bank &
 8   Trust account ‘1793, controlled by Lacey (“AB&T Account ‘1793”).
 9         169. On June 27, 2016, AB&T Account ‘1793 wired $397,500.00 to
10   Fidelity National Title Company.          The notation on this wire was
11   “XXX(Earnest Money)XXXXXX.”         On July 20, 2016, AB&T Account ‘1793
12   wired $12,859,152.57 to Fidelity National Title Company.                 The
13   notation on this wire was “XX(Balance of Property)XXXXX.”
14         170. Casa Bahia for San Francisco, LLC, a Delaware limited
15   liability company, was the entity used to take title to the San
16   Francisco Property 2, and is owned by Lacey.              On July 21, 2016, by
17   grant deed, San Francisco Property 2 was transferred to Lacey.                  On
18   June 21, 2017, by grant deed and for no consideration, Lacey
19   transferred San Francisco Property 2 to Casa Bahia for San Francisco,
20   LLC, a Delaware limited liability company, as evidenced by instrument
21   number 2017-K466276099 recorded in the San Francisco County official
22   records.    As noted in the grant deed:
23         There was no consideration for this transfer. This is a
           transfer between an individual or individuals and a legal
24         entity or between legal entities that results solely in a
25         change in the method of holding title and in which
           proportional ownership inters in the realty remain the
26         same. . .
27         K.    San Francisco Property 3
28         171. San Francisco Property 3 was purchased and maintained, in


                                               53
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 54     55 of
                                                                      of 90     91 ID #:747
                                                                             Page



 1   whole or in part, using funds traceable to SUA, involved in money
 2   laundering, or both.
 3         172. Beginning in February 2013, illicit funds from Backpage’s
 4   U.S. Bank account ‘1165 passed-through various Backpage or Backpage
 5   Operators accounts, eventually ending up in BMO Harris account ‘5263,
 6   owned or controlled by Lacey.          In May 2015, over $10,000 of funds
 7   from BMO Harris account ‘5263 was used to purchase or maintain San
 8   Francisco Property 3.
 9         L.    Sedona Property
10         173. The Sedona Property was purchased and maintained, in whole
11   or in part, using funds traceable to SUA, involved in money
12   laundering, or both.
13         174. In October 2017, Account 2 wired approximately $297,795 to
14   Account 4.     On November 13, 2018, $6,725.54 from Account 4 was used
15   to support or maintain the Sedona Property.
16         M.    Paradise Valley Property 2
17         175. Paradise Valley Property 2 was purchased and maintained, in
18   whole or in part, using funds traceable to SUA, involved in money
19   laundering, or both.
20         176. In 2005, for approximately $1,500,000, Lacey purchased the
21   Paradise Valley Property 2.         In 2010, the Paradise Valley Property
22   was used as collateral for a $1 million loan (the “2010 Loan”).
23   Beginning no later than January 2012, illicit proceeds were used to
24   service the debt on the 2010 Loan.             Specifically:
25         a.    Between February 4 and June 6, 2013, through a series of
26   wire transfers, Backpage’s U.S. Bank account ‘1165 transferred
27   approximately $41,500,000 to BMO Harris Bank account ‘5263; and
28         b.    Between March 2013, and January 2016, through a series of


                                               54
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 55     56 of
                                                                      of 90     91 ID #:748
                                                                             Page



 1   periodic transactions, approximately $174,749.39 from BMO Harris Bank
 2   account ‘5263 was used to service the debt on the 2010 Loan.
 3                                 JAMES LARKIN ASSETS11
 4         N.   Accounts 13, 15, 16, 17, AND 18 (RBA ‘1889, ‘2592, ‘8103,
                ‘8162, AND ‘8189)
 5         177. Account 13, held in the name of Larkin, was funded with
 6   proceeds alleged to have been traceable to SUA, involved in money
 7   laundering, or both.
 8         a.    On July 6, 2017, Account 2 transferred $971,651.51 into
 9   Account 13; and
10         b.    On July 28, 2017, Account 13 transferred $400,000 into
11   Account 14.
12         178. Account 15 is held in the name of Larkin.
13         a.    From March 2015 through November 2017, the Netherlands
14   Account received several millions of dollars in criminal proceeds
15   from Binary Trading;
16         b.    On December 2, 2016, the Netherlands Account transferred
17   $324,055.85 to Account 2;
18         c.    On December 8, 2016, the Netherlands Account transferred
19   $499,970.00 to Account 2;
20         d.    On December 27, 2016, the Netherlands Account transferred
21   $199,970.00 to Account 2, which account then transferred funds
22   through Account ‘9863 and into Account 3; and
23         e.    On December 13, 2017, Account 3 transferred $406,211.10 to
24   Account 15.
25         179. Account 16, 17, and 18 are CDARS Accounts held in the name
26
27         11
            On January 13, 2020, pursuant to a stipulation, this Court
     entered a consent judgment returning approximately $206,163.88 to
28   James Larkin (see ECF No. 65, 2:18-cv-8420-RGK-PJW). As a result,
     those funds are not included in this Amended Consolidated Complaint.

                                               55
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 56     57 of
                                                                      of 90     91 ID #:749
                                                                             Page



 1   of Larkin.
 2         a.    On July 28, 2017, Account 13 transferred $400,000 into
 3   Account 14; and
 4         b.    On or about February 8, 2018, $1 million in funds from
 5   Account 14 was used to fund Account 16 (which received $500,000),
 6   Account 17 (which received $250,000), and Account 18 (which received
 7   $250,000).
 8         O.    Accounts 19 AND 20 (PCTC ACCOUNT ‘0012 FUNDS, PERKINS COIE
                 ‘0012)
 9
10         180. Account 19 is held in the name of Larkin’s spouse, M.
11   Larkin, and was funded with proceeds traceable to SUA, involved in
12   money laundering, or both.
13         a.    On December 31, 2015, Website Tech Account ‘2008
14   transferred $811,424 to the Slovakia Account;
15         b.    On January 11, 2016, the Slovakia Account transferred
16   approximately $1,300,000 to Charles Schwab account ‘4693, held in the
17   name of Larkin (“Charles Schwab Account ‘4693”);
18         c.    On January 14, 2016, Charles Schwab Account ‘4693
19   transferred approximately $13,500,000 to Northern Trust Company
20   account ‘9562 (under the name “Ocotillo Family Trust,” owned and
21   controlled by Larkin and Margaret Larkin);
22         d.    In July 21, 2017, Account ‘9562 transferred $6,014,000 to
23   Morgan Stanley account ‘1673 (held in the name of Larkin and Margaret
24   Larkin);
25         e.    In or about November 2017, Morgan Stanley elected to
26   terminate its business relationship with Larkin;
27         f.    On November 30, 2017, all the funds then held in Morgan
28   Stanley account ‘1673 (about $10,000,000) were transferred to Account


                                               56
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 57     58 of
                                                                      of 90     91 ID #:750
                                                                             Page



 1   19; and
 2         g.    Some of the funds in Account 19 were used to purchase bonds
 3   and/or securities, which were held in Account 20.
 4         P.    Account 21 (ACF ‘2020)
 5         181. Account 21 contains securities and investment vehicles held
 6   in the name of Ocotillo Family Trust, which is owned and controlled
 7   by Larkin and his spouse, and was funded with proceeds traceable to
 8   SUA, involved in money laundering, or both.
 9         a.    During the period of March 23 through March 31, 2016,
10   Website Tech Account ‘2008 sent three wire transfers totaling
11   $3,694,813.60 to Arizona Bank & Trust account number ‘6211, belonging
12   to Cereus Properties (“Account ‘6211”);
13         b.    During the period of April 1, 2016, through July 1, 2016,
14   Account ‘6211 sent five wire transfers totaling $5,750,294 to Charles
15   Schwab Account ‘4693;
16         c.    On July 1, 2016, Charles Schwab Account ‘4693 transferred
17   $15,000,000 to Account 21;
18         d.    During the period of August 2, 2016, through October 6,
19   2016, Account ‘6211 sent six wire transfers totaling $9,550,315 to
20   Charles Schwab Account ‘4693;
21         e.    On January 3, 2017, Charles Schwab Account ‘4693
22   transferred $2,500,000 to Account 21; and
23         f.    On January 4, 2017, Charles Schwab Account ‘4693
24   transferred $2,500,000 Account 21.
25         Q.    Accounts 22 And 23 (BA ‘8225 and ‘7054)
26         182. Account 22 is held in the name of one of Larkin’s children,
27   T. Larkin, and was used in furtherance of the money laundering scheme
28   described herein, and in an attempt to further conceal or disguise


                                               57
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 58     59 of
                                                                      of 90     91 ID #:751
                                                                             Page



 1   the nature, location, source, ownership or control of the criminal
 2   proceeds.
 3         183. On February 2, 2018, Account 2 wire transferred $28,337
 4   into Account 22.
 5         184. Account 23 is held in the name of R. Larkin.               On February
 6   2, 2018, Account 2 wire transferred $28,337 into Account 23.
 7         R.    Saint Helena Property
 8         185. The Saint Helena Property was purchased and maintained, in
 9   whole or in part, using funds traceable to SUA, involved in money
10   laundering, or both.
11         186. Between February 4 and June 6, 2013, approximately
12   $41,500,000 in illicit funds were transferred to Camarillo Holdings
13   LLC, BMO Harris Bank account ‘7172.            On October 2, 2013, BMO Harris
14   Bank account ‘7172 wired $26,130.64 to Larkin’s BMO Harris Bank
15   account ‘3110.      Thereafter, on November 3, 2016, over $10,000 of
16   funds from BMO Harris Bank account ‘7172 were used to purchase or
17   maintain the Saint Helena Property.
18         S.    Chicago Property
19         187. The Chicago Property was purchased and maintained, in whole
20   or in part, using funds traceable to SUA, involved in money
21   laundering, or both.
22         188. Illicit funds originating from Backpage’s U.S. Bank account
23   ‘1165 were passed-through accounts owned or controlled by Backpage or
24   Backpage Operators, and ended up in BMO Harris Bank account ‘3110.
25   Thereafter, on October 2, 2015, BMO Harris Bank account ‘3110
26   transferred $138,000 to Chicago Title and Trust Company as payment
27   towards the purchase of the Chicago Property.
28


                                               58
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 59     60 of
                                                                      of 90     91 ID #:752
                                                                             Page



 1         T.    Paradise Valley Property 1
 2         189. Paradise Valley Property 1 was purchased and maintained, in
 3   whole or in part, using funds traceable to SUA, involved in money
 4   laundering, or both.
 5         190. Approximately $41.5 million in illicit funds from
 6   Backpage’s U.S. Bank account ‘1165 passed through various Backpage or
 7   Backpage Operators’ accounts.          Following these various transfers,
 8   eventually, on October 2, 2013, a total of approximately $26,130.64
 9   was transferred into BMO Harris account ‘3110, owned or controlled by
10   Larkin.    Thereafter, on December 11, 2014, BMO Harris Bank account
11   ‘3110 paid $46,957.28 to maintain the Paradise Valley property 1.
12         U.    Paradise Valley Property 2
13         191. Paradise Valley Property 2 was purchased and maintained, in
14   whole or in part, using funds traceable to SUA, involved in money
15   laundering, or both.
16         192. Illicit funds originating from Backpage’s U.S. Bank account
17   ‘1165 were passed-through accounts owned or controlled by Backpage or
18   Backpage Operators, and ended up in BMO Harris Bank account ‘3110,
19   from which account over $10,000 was paid to maintain Paradise Valley
20   Property 2.
21                                   JOHN BRUNST ASSETS
22         V.    Account 24 (COMPASS BANK ‘3825)
23         193. Account 24 is held in the name of Brunst, and was used in
24   furtherance of the money laundering scheme described herein, and in
25   an attempt to further conceal or disguise the nature, location,
26   source, ownership or control of the proceeds of SUA.
27         194. On February 2, 2018, Account 2 wire transferred $135,956.59
28   into Account 24.


                                               59
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 60     61 of
                                                                      of 90     91 ID #:753
                                                                             Page



 1         W.    Account 25, 26, 27, 28, 29, 30 (AB ‘6878, ‘4954, ‘7892,
                 ‘7889, ‘7888 AND ‘6485)
 2
 3         195. Accounts 25, 26, 27, 28, 29, and 30 are held in the name of
 4   the “Brunst Family Trust.”         Brunst and his wife are the sole trustees
 5   for these accounts, which were funded with proceeds traceable to SUA,
 6   involved in money laundering, or both.
 7         a.    On December 31, 2015, Website Tech Account ‘2008
 8   transferred $811,424 to Account ‘6211;
 9         b.    On December 6, 2016, Account ‘6211 transferred $161,459 to
10   Wells Fargo Bank account ‘4891, belonging to Brunst (“Account
11   ‘4891”);
12         c.    On January 4, 2017, Account ‘6211 transferred another
13   $298,841 to Account ‘4891;
14         d.    On January 5, 2017, Account ‘4891 transferred $300,000 to
15   Wells Fargo Bank account ‘7474, belonging to the Brunst Family Trust
16   (“Account ‘7474”).
17         e.    On May 19, 2017, Account ‘7474 transferred approximately
18   $1,500,000 into Account 25;
19         f.    On May 23, 2017, Account 25 transferred approximately
20   $350,000 to Account 26;
21         g.    On June 7, 2017, Account 25 transferred approximately
22   $1,340,000 to Account ‘0582;
23         h.    On September 13, 2017, Account ‘0582 transferred
24   approximately $581,000 to Account 27;
25         i.    On September 13, 2017, Account ‘0582 transferred
26   approximately $250,000 to Account 28;
27         j.    On September 13, 2017, Account ‘0582 transferred
28   approximately $250,000 to Account 29; and


                                               60
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 61     62 of
                                                                      of 90     91 ID #:754
                                                                             Page



 1         k.    On September 15, 2017, Account ‘0582 transferred
 2   approximately $500,000 to Account 30.
 3                                   SCOTT SPEAR ASSETS
 4         X.    Accounts 31, 32, AND 33 (NBA ‘0178, ‘0151, and’3645)
 5         196. Accounts 31 and 32 are held in the name of Spear, which
 6   accounts were funded with proceeds traceable to SUA, involved in
 7   money laundering, or both.         Account 33 is held in trust for the
 8   benefit of Spear and certain of his family members, which account was
 9   funded with proceeds traceable to SUA, involved in money laundering,
10   or both.    In furtherance of the money laundering scheme, and in an
11   attempt to further conceal the true nature of the criminal proceeds,
12   go-between accounts served to funnel money from one account to
13   another.
14         a.    Between January 21 and August 31, 2016, Website Tech
15   Account ‘2008 sent approximately 27 wire transfers totaling
16   approximately $48,000,000 to Account ‘6211;
17         b.    Between March 1, 2016, and July 1, 2016, Account ‘6211
18   transferred $892,426 into Account 31;
19         c.    On September 14, 2017, Account 2 wire transferred
20   $50,162.05 into Account 31;
21         d.    On October 12, 2017, Account 31 transferred approximately
22   $21,500 into Account 32; and
23         e.    On January 5, 2018, Account 31 transferred approximately
24   $600,000 into Account 33.
25         Y.    Account 34 (Live Oak Bank Account ‘6910)
26         197. Account 34 is held in the name of Spear, and was funded
27   with proceeds traceable to SUA, involved in money laundering, or
28   both.


                                               61
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 62     63 of
                                                                      of 90     91 ID #:755
                                                                             Page



 1         198. On or about March 16, 2016, as an opening deposit, Account
 2   31 transferred $250,000 into Account 34.
 3         Z.    Account 35 and 36 (Ascensus Broker Services ‘4301 and’8001)
 4         199. Accounts 35 and 36 are held in the name of N. Spear,
 5   Spear’s adult daughter, and were funded with proceeds traceable to
 6   SUA, involved in money laundering, or both.
 7         a.    On February 23, 2017, Account 31 transferred approximately
 8   $50,000 into Account 35; and
 9         b.    On the February 23, 2017, Account 31 transferred $50,000
10   into Account 36.
11                                  PRIMUS TRUST ASSETS
12         AA.         Account 37 (K&H Bank Account ‘1210)
13         200. Account 37 is located in Hungary, and held in the name of
14   Primus Trust Company for the benefit of Lacey. In furtherance of the
15   money laundering scheme, Account 37 was funded with proceeds
16   traceable to SUA, involved in money laundering, or both.
17         201. The tracing of this account involves numerous banks and
18   bank accounts, both foreign and domestic.             The accounts include:
19   Website Tech Account ‘2008; Account ‘6211; Arizona Bank & Trust
20   annuity trust account numbers ‘1967, ‘1972, ‘1986, ‘1991, and ‘2014,
21   all held in Lacey’s name (“AZBT Annuity Accounts”); and Johnson
22   Financial account ‘9992, held in an IOLTA, with Lacey as the sole
23   beneficiary.
24         a.    Between December 14, 2015, and January 15, 2016, the
25   Slovakia Account sent approximately 26 wire transfers totaling over
26   $2,500,000 to Website Tech Account ‘2008 in the United States;
27         b.    On January 15, 2016, Website Tech Account ‘2008 transferred
28   $189,571 to Verizon in Los Angeles, California, in payment for


                                               62
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 63     64 of
                                                                      of 90     91 ID #:756
                                                                             Page



 1   Backpage internet services, which served, in whole or in part, to
 2   promote sex trafficking and illegal prostitution;
 3         c.    Between January 21 and August 31, 2016, Website Tech
 4   Account ‘2008 sent approximately 27 wire transfers totaling
 5   approximately $48,000,000 to Account ‘6211;
 6         d.    Between April 1 and October 6, 2016, in approximately 12
 7   wires, Account ‘6211 sent over $18,000,000 to the AZBT Annuity Trust
 8   Accounts;
 9         e.    On December 29, 2016, in five wires, the AZBT Annuity
10   Trusts Accounts sent approximately $16,500,000 to Johnson Financial
11   account ‘9992; and
12         f.    On January 3, 2017, Johnson Financial account ‘9992
13   transferred $16,500,000 to Account 37.
14                                    AD TECH BV ASSETS
15         BB.   Accounts 56, 57, and 58 (Fio Bank ‘5803, ‘5801, and ‘5805)
16         202. Accounts 56, 57, and 58 are located in the Czech Republic
17   and held in the name of Ad Tech BV, identifying Ferrer as the
18   ultimate beneficial owner, which accounts were funded with proceeds
19   traceable to SUA, involved in money laundering, or both.
20         203. Account 56, 57, and 58 were set up and maintained to
21   receive payments for Backpage ads, that is, for “accounts
22   receivable.”     Merchant processors would accept credit card payments
23   and Bitcoin from Backpage advertisers as credit to place ads for
24   prostitution and other services.          The merchant processors would then
25   transfer these funds to accounts set up to receive such payments,
26   specifically including Accounts 56, 57, and 58.              All funds contained
27   within Accounts 56, 57, and 58 are traceable to SUA and involved in
28   money laundering.


                                               63
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 64     65 of
                                                                      of 90     91 ID #:757
                                                                             Page



 1         CC.   Accounts 47, 48, 49 and 50 (BF Accounts ‘000K, ‘000U, ‘000
                 , and ‘001K)
 2
 3         204. Accounts 47, 48, 49, and 50 are located in Principality of
 4   Liechtenstein, and held for the benefit of Ferrer, which accounts
 5   were funded with proceeds traceable to SUA, involved in money
 6   laundering, or both.
 7         205. Accounts 47, 48, 49, and 50 were set up and maintained to
 8   receive payments for Backpage ads, that is, for “accounts
 9   receivable.”     Merchant processors would accept credit card payments
10   and Bitcoin from Backpage advertisers as credit to place ads for
11   prostitution and other services.          The merchant processors would then
12   transfer these funds to accounts set up to receive such payments,
13   specifically including Accounts 47, 48, 49, and 50.               All funds
14   contained within Accounts 47, 48, 49, and 50 are traceable to SUA and
15   involved in money laundering.
16                        GOLD LEAF SRO FUNDS HELD AT FIO BANK
17         DD.   Account 38, 39, and 40 (Fio Bank ‘2226, ‘2231, and ‘2230)
18         206. Accounts 38, 39, and 40 are located in the Czech Republic,
19   and held for the benefit of Backpage by a third party entity named,
20   “Gold Leaf SRO.”      Accounts 38, 39, and 40 were funded with proceeds
21   traceable to SUA, involved in money laundering, or both.
22         207. Accounts 38, 39, and 40 were created outside the United
23   States with the intention of avoiding the “blockade” of Backpage set
24   up by U.S. credit card companies that refused to process Backpage
25   receipts following negative press associated with Backpage.
26   Approximately 99.5% of the payments into these accounts were to be
27   transferred to accounts held by Ad Tech BV, a Backpage controlled
28   company located in the Netherlands, after which transfer, the funds


                                               64
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 65     66 of
                                                                      of 90     91 ID #:758
                                                                             Page



 1   could be directed for the benefit of Backpage or Backpage Operators
 2   in the U.S. or abroad.        All funds contained within Accounts 38, 39,
 3   and 40 are traceable to SUA and involved in money laundering.
 4                       PROTECCTIO SRO FUNDS HELD AT FIO BANK
 5         EE.   Accounts 41, 42, and 43 (Fio Bank ‘4194, ‘4196, and ‘4198)
 6         208. Accounts 41, 42, and 43 are located in the Czech Republic,
 7   and held for the benefit of Backpage by a third party entity named,
 8   “Protecctio SRO.”      Accounts 41, 42, and 43 were funded with proceeds
 9   traceable to SUA, involved in money laundering, or both.
10         209. Accounts 41, 42, and 43 were created outside the United
11   States with the intention of avoiding the “blockade” of Backpage set
12   up by U.S. credit card companies that refused to process Backpage
13   receipts following negative press associated with Backpage.
14   Approximately 99.5% of the payments into these accounts were to be
15   transferred to accounts held by Ad Tech BV, a Backpage controlled
16   company located in the Netherlands, after which transfer the funds
17   could be directed for the benefit of Backpage or Backpage Operators
18   in the U.S. or abroad.        All funds contained within Accounts 41, 42,
19   and 43 are traceable to SUA and involved in money laundering.
20                         VARICOK SRO FUNDS HELD AT FIO BANK
21         FF.   Accounts 44, 45, and 46 (Fio Bank ‘8083, ‘8086, and ‘8080)
22         210. Accounts 44, 45, and 46 are located in the Czech Republic,
23   and held in the name of Varicok Company SRO.              Accounts 44, 45, and 46
24   were funded with proceeds traceable to SUA, involved in money
25   laundering, or both.
26         211. Accounts 44, 45, and 46 were created outside the United
27   States with the intention of avoiding the “blockade” of Backpage set
28   up by U.S. credit card companies that refused to process Backpage


                                               65
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 66     67 of
                                                                      of 90     91 ID #:759
                                                                             Page



 1   receipts following negative press associated with Backpage.
 2   Approximately 99.5% of the payments into these accounts were to be
 3   transferred to accounts held by Ad Tech BV, a Backpage controlled
 4   company located in the Netherlands, after which transfer, the funds
 5   could be directed for the benefit of Backpage or Backpage Operators
 6   in the U.S. or abroad.        All funds contained within Accounts 44, 45,
 7   and 46 are traceable to SUA and involved in money laundering.
 8                    PROCOP SERVICES BV FUNDS HELD AT KNAB BANK
 9         GG.    Account 51 (KB ‘7664)
10         212. Account 51 is located in the Kingdom of the Netherlands,
11   and held for the benefit of Backpage by a third party entity named,
12   “Procop Services BV.”       Account 51 was funded with proceeds traceable
13   to SUA, involved in money laundering, or both.
14         213.    Account 51 was created outside the United States with the
15   intention of avoiding the “blockade” of Backpage set up by U.S.
16   credit card companies that refused to process Backpage receipts
17   following negative press associated with Backpage.               Approximately
18   99.5% of the payments into Accounts 51 was to be transferred to
19   accounts held by Ad Tech BV, a Backpage controlled company located in
20   the Netherlands, after which transfer, the funds could be directed
21   for the benefit of Backpage or Backpage Operators in the U.S. or
22   abroad.      All funds contained within Account 51 are traceable to SUA
23   and involved in money laundering.
24                     GULIETTA GROUP BV FUNDS HELD AT RABO BANK
25         HH.    Accounts 52 and 53 (RB ‘2452 and ‘4721)
26         214. Accounts 52 and 53 are located in the Kingdom of the
27   Netherlands and held for the benefit of Backpage by a third party
28   entity named, “Gulietta Group BV.”             Accounts 52 and 53 were funded


                                               66
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 67     68 of
                                                                      of 90     91 ID #:760
                                                                             Page



 1   with proceeds traceable to SUA, involved in money laundering, or
 2   both.
 3         215. Accounts 52 and 53 were created outside the United States
 4   with the intention of avoiding the “blockade” of Backpage set up by
 5   U.S. credit card companies that refused to process Backpage receipts
 6   following negative press associated with Backpage.               Approximately
 7   99.5% of the payments into these accounts were to be transferred to
 8   accounts held by Ad Tech BV, a Backpage controlled company located in
 9   the Netherlands, after which transfer, the funds could be directed
10   for the benefit of Backpage or Backpage Operators in the U.S. or
11   abroad.     All funds contained within Accounts 52 and 53 are traceable
12   to SUA and involved in money laundering.
13    CASHFLOWS EUROPE LTD FUNDS HELD FOR GULIETTA GROUP B.V., UNIVERSADS
                  B.V., PROCOPSERVICES B.V. and PROTECCIO SRO
14
15         II.   Account 55 (SP ‘1262)
16         216. Account 55 is located in the United Kingdom and held by a
17   third party entity, “Cashflows Europe Limited” (“Cashflows”).
18   Although Backpage is the ultimate beneficiary of Account 55,
19   Cashflows acts first as an entity holding this account for the
20   benefit of Gulietta Group B.V., Universads B.V., Procop Services
21   B.V., and Proteccio SRO, each of which company is owned or controlled
22   by Backpage.     Account 55 was funded with proceeds traceable to SUA,
23   involved in money laundering, or both.
24         217. Account 55 was created outside the United States with the
25   intention of avoiding the “blockade” of Backpage set up by U.S.
26   credit card companies that refused to process Backpage receipts
27   following negative press associated with Backpage.               Approximately
28   99.5% of the payments into Accounts 55 was to be transferred to


                                               67
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 68     69 of
                                                                      of 90     91 ID #:761
                                                                             Page



 1   accounts held by Ad Tech BV, a Backpage controlled company located in
 2   the Netherlands, after which transfer, the funds could be directed
 3   for the benefit of Backpage or Backpage Operators in the U.S. or
 4   abroad.     All funds contained within Account 55 are traceable to SUA
 5   and involved in money laundering.
 6         JJ.    Account 54 (LHVP ‘4431)
 7         218. Account 54 is an account maintained in the Republic of
 8   Estonia, held in the name of Olist OU for the benefit of Backpage.
 9   Account 54 was funded with proceeds traceable to SUA, involved in
10   money laundering, or both.
11         219. Account 54 was created outside the United States with the
12   intention of avoiding the “blockade” of Backpage set up by U.S.
13   credit card companies that refused to process Backpage receipts
14   following negative press associated with Backpage.               Approximately
15   99.5% of the payments into Accounts 54 was to be transferred to
16   accounts held by Ad Tech BV, a Backpage controlled company located in
17   the Netherlands, after which transfer, the funds could be directed
18   for the benefit of Backpage or Backpage Operators in the U.S. or
19   abroad.     All funds contained within Account 54 are traceable to SUA
20   and involved in money laundering.
21                            BACKPAGE-CONTROLLED DOMAIN NAMES
22         KK.    ASCIO/WMB Inc Domain Names
23         220. Until recently, Backpage controlled numerous domain names,
24   which have since been seized by the government pursuant to a seizure
25   warrant issued in this district (the “Seized Domains”).12
26         221. The Seized Domains are registered by “ASCIO TECHNOLOGIES
27   INC” DBA “NETNAMES,” a domain registrar that manages the reservation
28
           12   18-MJ-00711

                                               68
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 69     70 of
                                                                      of 90     91 ID #:762
                                                                             Page



 1   of internet domain names.         A domain registrar serves to ensure that a
 2   registered domain name, like each of the Seized Domains, is not
 3   double sold.
 4         222. Additionally, a domain registration will allow the owner of
 5   the domain to direct internet traffic to a company’s webserver.                   The
 6   Seized Domains were found to have been acquired and maintained with
 7   funds traceable to the money laundering scheme described herein,
 8   specifically with funds from Account 1, and the Seized Domains were
 9   the mechanism Backpage used to promote the prostitution and sex
10   trafficking activity.
11         223. The following domains constitute and are derived from
12   proceeds traceable to SUA, involved in money laundering, or both:
13         a.    atlantabackpage.com
14         b.    backpage.be
15         c.    backpage.com
16         d.    backpage.com.br
17         e.    backpage.cz
18         f.    backpage.dk
19         g.    backpage.ee
20         h.    backpage.es
21         i.    backpage.fi
22         j.    backpage.fr
23         k.    backpage.gr
24         l.    backpage.hu
25         m.    backpage.ie
26         n.    backpage.it
27         o.    backpage.lt
28         p.    backpage.mx


                                               69
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 70     71 of
                                                                      of 90     91 ID #:763
                                                                             Page



 1         q.    backpage.net
 2         r.    backpage.no
 3         s.    backpage.pl
 4         t.    backpage.pt
 5         u.    backpage.ro
 6         v.    backpage.si
 7         w.    backpage.sk
 8         x.    backpage.us
 9         y.    backpage-insider.com
10         z.    bestofbackpage.com
11         aa.   bestofbigcity.com
12         bb.   bigcity.com
13         cc.   chicagobackpage.com
14         dd.   denverbackpage.com
15         ee.   newyorkbackpage.com
16         ff.   phoenixbackpage.com
17         gg.   sandiegobackpage.com
18         hh.   seattlebackpage.com
19         ii.   tampabackpage.com
20         LL.   SURRENDERED DOMAIN NAMES
21         224. Until recently, Backpage also controlled numerous domain
22   names that Backpage has since surrendered (pursuant to its guilty
23   plea on April 5, 2018, in the District of Arizona).
24         225. The following websites were purchased and/or maintained, in
25   whole or in part, with proceeds traceable to SUA, involved in money
26   laundering, or both:
27         a.    admoderation.com (Versio)
28         b.    admoderators.com (Versio)


                                               70
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 71     72 of
                                                                      of 90     91 ID #:764
                                                                             Page



 1         c.    adnet.ws (NetNames)
 2         d.    adplace24.com (Versio)
 3         e.    adplaces24.com (Versio)
 4         f.    adpost24.com (Versio)
 5         g.    adpost24.cz (GoDaddy)
 6         h.    adquick365.com (Versio)
 7         i.    adreputation.com (NetNames)
 8         j.    ads-posted-mp.com (Versio)
 9         k.    adsplace24.com (Versio)
10         l.    adspot24.com (Versio)
11         m.    adspots24.com (Versio)
12         n.    adsspot24.com (Versio)
13         o.    adtechbv.co.nl (NetNames)
14         p.    adtechbv.com (NetNames)
15         q.    adtechbv.nl (NetNames)
16         r.    advert-ep.com (Versio)
17         s.    adverts-mp.com (Versio)
18         t.    axme.com (GoDaddy)
19         u.    back0age.com (NetNames)
20         v.    backpa.ge (NetNames)
21         w.    backpaee.com (NetNames)
22         x.    backpage-insider.com (NetNames)
23         y.    backpage.adult (NetNames)
24         z.    backpage.ae (NetNames)
25         aa.   backpage.at (NetNames)
26         bb.   backpage.ax (NetNames)
27         cc.   backpage.be (NetNames)
28         dd.   backpage.bg (European domains)


                                               71
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 72     73 of
                                                                      of 90     91 ID #:765
                                                                             Page



 1         ee.   backpage.bg (NetNames)
 2         ff.   backpage.ca (NetNames)
 3         gg.   backpage.cl (NetNames)
 4         hh.   backpage.cn (European domains)
 5         ii.   backpage.cn (NetNames)
 6         jj.   backpage.co.id (NetNames)
 7         kk.   backpage.co.nl (European domains)
 8         ll.   backpage.co.nl (NetNames)
 9         mm.   backpage.co.nz (NetNames)
10         nn.   backpage.co.uk (NetNames)
11         oo.   backpage.co.ve (NetNames)
12         pp.   backpage.co.za (NetNames)
13         qq.   backpage.com (NetNames)
14         rr.   backpage.com.ar (NetNames)
15         ss.   backpage.com.au (NetNames)
16         tt.   backpage.com.ph (NetNames)
17         uu.   backpage.cz (NetNames)
18         vv.   backpage.dk (NetNames)
19         ww.   backpage.ec (NetNames)
20         xx.   backpage.ee (European domains)
21         yy.   backpage.ee (NetNames)
22         zz.   backpage.es (NetNames)
23         aaa. backpage.fi (European domains)
24         bbb. backpage.fi (NetNames)
25         ccc. backpage.fr (European domains)
26         ddd. backpage.fr (NetNames)
27         eee. backpage.gr (European domains)
28         fff. backpage.gr (NetNames)


                                               72
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 73     74 of
                                                                      of 90     91 ID #:766
                                                                             Page



 1         ggg. backpage.hk (European domains)
 2         hhh. backpage.hk (NetNames)
 3         iii. backpage.hu (European domains)
 4         jjj. backpage.hu (NetNames)
 5         kkk. backpage.ie (NetNames)
 6         lll. backpage.in (NetNames)
 7         mmm. backpage.it (NetNames)
 8         nnn. backpage.jp (NetNames)
 9         ooo. backpage.kr (NetNames)
10         ppp. backpage.lt (NetNames)
11         qqq. backpage.lv (European domains)
12         rrr. backpage.lv (NetNames)
13         sss. backpage.me (NetNames)
14         ttt. backpage.mx (NetNames)
15         uuu. backpage.my (NetNames)
16         vvv. backpage.net (NetNames)
17         www. backpage.nl (NetNames)
18         xxx. backpage.no (European domains)
19         yyy. backpage.no (NetNames)
20         zzz. backpage.nz (NetNames)
21         aaaa.       backpage.pe (NetNames)
22         bbbb.       backpage.ph (NetNames)
23         cccc.       backpage.pk (NetNames)
24         dddd.       backpage.pl (NetNames)
25         eeee.       backpage.porn (NetNames)
26         ffff.       backpage.pt (NetNames)
27         gggg.       backpage.ro (European domains)
28         hhhh.       backpage.ro (NetNames)


                                               73
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 74     75 of
                                                                      of 90     91 ID #:767
                                                                             Page



 1         iiii.       backpage.se (NetNames)
 2         jjjj.       backpage.sex (NetNames)
 3         kkkk.       backpage.sg (NetNames)
 4         llll.       backpage.si (European domains)
 5         mmmm.       backpage.si (NetNames)
 6         nnnn.       backpage.sk (European domains)
 7         oooo.       backpage.sk (NetNames)
 8         pppp.       backpage.sucks (NetNames)
 9         qqqq.       backpage.tw (NetNames)
10         rrrr.       backpage.uk (NetNames)
11         ssss.       backpage.uk.com (NetNames)
12         tttt.       backpage.us (NetNames)
13         uuuu.       backpage.vn (NetNames)
14         vvvv.       backpage.xxx (NetNames)
15         wwww.       backpage.xyz (NetNames)
16         xxxx.       backpagecompimp.com (NetNames)
17         yyyy.       backpagecompimps.com (NetNames)
18         zzzz.       backpagepimp.com (NetNames)
19         aaaaa.      backpagepimps.com (NetNames)
20         bbbbb.      backpagg.com (NetNames)
21         ccccc.      backpagm.com (NetNames)
22         ddddd.      backpagu.com (NetNames)
23         eeeee.      backpaoe.com (NetNames)
24         fffff.      backpawe.com (NetNames)
25         ggggg.      backqage.com (NetNames)
26         hhhhh.      backrage.com (NetNames)
27         iiiii.      backxage.com (NetNames)
28         jjjjj.      bakkpage.com (NetNames)


                                               74
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 75     76 of
                                                                      of 90     91 ID #:768
                                                                             Page



 1         kkkkk.      bcklistings.com (NetNames)
 2         lllll.      bestofbackpage.com (NetNames)
 3         mmmmm.      bestofbigcity.com (NetNames)
 4         nnnnn.      bickpage.com (NetNames)
 5         ooooo.      bigcity.com (NetNames)
 6         ppppp.      bpclassified.com (NetNames)
 7         qqqqq.      bpclassifieds.com (NetNames)
 8         rrrrr.      carlferrer.com (NetNames)
 9         sssss.      clasificadosymas.com (NetNames)
10         ttttt.      clasificadosymas.net (NetNames)
11         uuuuu.      clasificadosymas.org (NetNames)
12         vvvvv.      classifiedsolutions.co.uk (NetNames)
13         wwwww.      classifiedsolutions.net (NetNames)
14         xxxxx.      classyadultads.com (Versio)
15         yyyyy.      columbusbackpage.com (NetNames)
16         zzzzz.      connecticutbackpage.com (NetNames)
17         aaaaaa.     cracker.co.id (NetNames)
18         bbbbbb.     cracker.com (NetNames)
19         cccccc.     cracker.com.au (NetNames)
20         dddddd.     cracker.id (NetNames)
21         eeeeee.     cracker.net.au (NetNames)
22         ffffff.     crackers.com.au (NetNames)
23         gggggg.     crackers.net.au (NetNames)
24         hhhhhh.     ctbackpage.com (NetNames)
25         iiiiii.     dallasbackpage.com (NetNames)
26         jjjjjj.     denverbackpage.com (NetNames)
27         kkkkkk.     easypost123.com (Versio)
28         llllll.     easyposts123.com (Versio)


                                               75
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 76     77 of
                                                                      of 90     91 ID #:769
                                                                             Page



 1         mmmmmm.     emais.com.pt (NetNames)
 2         nnnnnn.     evilempire.com (NetNames)
 3         oooooo.     ezpost123.com (Versio)
 4         pppppp.     fackpage.com (NetNames)
 5         qqqqqq.     fastadboard.com (Versio)
 6         rrrrrr.     guliettagroup.nl (Versio)
 7         ssssss.     htpp.org (NetNames)
 8         tttttt.     ichold.com (NetNames)
 9         uuuuuu.     internetspeechfoundation.com (nameisp)
10         vvvvvv.     internetspeechfoundation.org (nameisp)
11         wwwwww.     loads2drive.com (NetNames)
12         xxxxxx.     loadstodrive.com (NetNames)
13         yyyyyy.     loadtodrive.com (NetNames)
14         zzzzzz.     losangelesbackpage.com (NetNames)
15         aaaaaaa.    mediafilecloud.com (NetNames)
16         bbbbbbb.    miamibackpage.com (NetNames)
17         ccccccc.    minneapolisbackpage.com (NetNames)
18         ddddddd.    mobileposting.com (Versio)
19         eeeeeee.    mobilepostings.com (Versio)
20         fffffff.    mobilepostlist.com (Versio)
21         ggggggg.    mobilposting.com (Versio)
22         hhhhhhh.    naked.city (NetNames)
23         iiiiiii.    nakedcity.com (NetNames)
24         jjjjjjj.    newyorkbackpage.com (NetNames)
25         kkkkkkk.    paidbyhour.com (NetNames)
26         lllllll.    petseekr.com (NetNames)
27         mmmmmmm.    petsfindr.com (NetNames)
28         nnnnnnn.    phoenixbackpage.com (NetNames)


                                               76
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 77     78 of
                                                                      of 90     91 ID #:770
                                                                             Page



 1         ooooooo.    posteasy123.com (Versio)
 2         ppppppp.    postfaster.com (NetNames)
 3         qqqqqqq.    postfastly.com (NetNames)
 4         rrrrrrr.    postfastr.com (NetNames)
 5         sssssss.    postonlinewith.com (Versio)
 6         ttttttt.    postonlinewith.me (Versio)
 7         uuuuuuu.    postseasy123.com (Versio)
 8         vvvvvvv.    postsol.com (GoDaddy)
 9         wwwwwww.    postszone24.com (Versio)
10         xxxxxxx.    postzone24.com (Versio)
11         yyyyyyy.    postzones24.com (Versio)
12         zzzzzzz.    rentseekr.com (NetNames)
13         aaaaaaaa. results911.com (NetNames)
14         bbbbbbbb. sandiegobackpage.com (NetNames)
15         cccccccc. sanfranciscobackpage.com (NetNames)
16         dddddddd. seattlebackpage.com (NetNames)
17         eeeeeeee. sellyostuffonline.com (Versio)
18         ffffffff. sfbackpage.com (NetNames)
19         gggggggg. simplepost24.com (Versio)
20         hhhhhhhh. simpleposts24.com (Versio)
21         iiiiiiii. svc.ws (NetNames)
22         jjjjjjjj. truckrjobs.com (NetNames)
23         kkkkkkkk. ugctechgroup.com (NetNames)
24         llllllll. universads.nl (Versio)
25         mmmmmmmm. villagevoicepimps.com (GoDaddy)
26         nnnnnnnn. websitetechnologies.co.uk (NetNames)
27         oooooooo. websitetechnologies.com (NetNames)
28         pppppppp. websitetechnologies.net (NetNames)


                                               77
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 78     79 of
                                                                      of 90     91 ID #:771
                                                                             Page



 1         qqqqqqqq. websitetechnologies.nl (NetNames)
 2         rrrrrrrr. websitetechnologies.org (NetNames)
 3         ssssssss. weprocessmoney.com (GoDaddy)
 4         tttttttt. wst.ws (NetNames)
 5         uuuuuuuu. xn--yms-fla.com (NetNames)
 6         vvvvvvvv. ymas.ar.com (European domains)
 7         wwwwwwww. ymas.br.com (European domains)
 8         xxxxxxxx. ymas.br.com (NetNames)
 9         yyyyyyyy. ymas.bz (European domains)
10         zzzzzzzz. ymas.bz (NetNames)
11         aaaaaaaaa.         ymas.cl (European domains)
12         bbbbbbbbb.         ymas.cl (NetNames)
13         ccccccccc.         ymas.co.bz (European domains)
14         ddddddddd.         ymas.co.bz (NetNames)
15         eeeeeeeee.         ymas.co.cr (European domains)
16         fffffffff.         ymas.co.cr (NetNames)
17         ggggggggg.         ymas.co.ni (European domains)
18         hhhhhhhhh.         ymas.co.ni (NetNames)
19         iiiiiiiii.         ymas.co.ve (European domains)
20         jjjjjjjjj.         ymas.co.ve (NetNames)
21         kkkkkkkkk.         ymas.com (NetNames)
22         lllllllll.         ymas.com.br (European domains)
23         mmmmmmmmm.         ymas.com.br (NetNames)
24         nnnnnnnnn.         ymas.com.bz (European domains)
25         ooooooooo.         ymas.com.bz (NetNames)
26         ppppppppp.         ymas.com.co (European domains)
27         qqqqqqqqq.         ymas.com.co (NetNames)
28         rrrrrrrrr.         ymas.com.do (European domains)


                                               78
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 79     80 of
                                                                      of 90     91 ID #:772
                                                                             Page



 1         sssssssss.         ymas.com.do (NetNames)
 2         ttttttttt.         ymas.com.ec (European domains)
 3         uuuuuuuuu.         ymas.com.ec (NetNames)
 4         vvvvvvvvv.         ymas.com.es (European domains)
 5         wwwwwwwww.         ymas.com.es (NetNames)
 6         xxxxxxxxx.         ymas.com.gt (European domains)
 7         yyyyyyyyy.         ymas.com.gt (NetNames)
 8         zzzzzzzzz.         ymas.com.hn (European domains)
 9         aaaaaaaaaa.        ymas.com.hn (NetNames)
10         bbbbbbbbbb.        ymas.com.mx     (NetNames)
11         cccccccccc.        ymas.com.ni (European domains)
12         dddddddddd.        ymas.com.ni (NetNames)
13         eeeeeeeeee.        ymas.com.pe (European domains)
14         ffffffffff.        ymas.com.pe (NetNames)
15         gggggggggg.        ymas.com.pr (European domains)
16         hhhhhhhhhh.        ymas.com.pr (NetNames)
17         iiiiiiiiii.        ymas.com.pt     (NetNames)
18         jjjjjjjjjj.        ymas.com.uy (European domains)
19         kkkkkkkkkk.        ymas.com.uy (NetNames)
20         llllllllll.        ymas.com.ve (European domains)
21         mmmmmmmmmm.        ymas.com.ve (NetNames)
22         nnnnnnnnnn.        ymas.cr (European domains)
23         oooooooooo.        ymas.cr (NetNames)
24         pppppppppp.        ymas.do (European domains)
25         qqqqqqqqqq.        ymas.do (NetNames)
26         rrrrrrrrrr.        ymas.ec (European domains)
27         ssssssssss.        ymas.ec (NetNames)
28         tttttttttt.        ymas.es (European domains)


                                               79
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 80     81 of
                                                                      of 90     91 ID #:773
                                                                             Page



 1         uuuuuuuuuu.        ymas.es (NetNames)
 2         vvvvvvvvvv.        ymas.org (NetNames)
 3         wwwwwwwwww.        ymas.pe (European domains)
 4         xxxxxxxxxx.        ymas.pe (NetNames)
 5         yyyyyyyyyy.        ymas.pt (NetNames)
 6         zzzzzzzzzz.        ymas.us (European domains)
 7         aaaaaaaaaaa.       ymas.us (NetNames)
 8         bbbbbbbbbbb.       ymas.uy (European domains)
 9         ccccccccccc.       ymas.uy (NetNames)
10         ddddddddddd.       ymas.uy.com (European domains)
11                             BACKPAGE SURRENDERED ASSETS
12         MM.   ASSETS BACKPAGE SURRENDERED TO THE GOVERNMENT
13         226. On or about May 8, 2018, all of the funds, digital
14   currencies, and other property listed in this subsection were
15   transferred into the United States Postal Inspection Service
16   (“USPIS”) holding bank account, Bitcoin wallet, Bitcoin Cash wallet,
17   Litecoin wallet, and Bitcoin Gold wallet.             These Surrendered Assets
18   constitute and are derived from proceeds traceable to SUA, involved
19   in money laundering, or both.
20         227. On May 8, 2018, within the Stipulation for Preliminary
21   Order of Forfeiture, CR18-465-PHX-SPL, Ferrer, in his capacity as CEO
22   of Backpage, stipulated that the following bank funds, securities, or
23   other assets were criminally derived proceeds of Backpage’s illegal
24   activity, involved in money laundering transactions, or both, and as
25   such, were forfeitable property:
26         a.    $699,940.00 wire transferred from ING Bank account ‘7684,
27   held in the name of Payment Solutions BV;
28         b.    $106,988.41 wire transferred from ING Bank account ‘2071,


                                               80
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 81     82 of
                                                                      of 90     91 ID #:774
                                                                             Page



 1   held in the name of Payment Solutions BV;
 2         c.    $499,910.01 wire transferred from US Bank account ‘0239,
 3   held in the name of Affordable Bail Bonds LLC;
 4         d.    $50,000.00 wire transferred from Enterprise Bank and Trust
 5   account ‘7177, held in the name of Global Trading Solutions LLC;
 6         e.    $1,876.36 wire transferred from ING Bank account ‘2071,
 7   held in the name of Payment Solutions BV;
 8         f.    $699,940.00 wire transferred from ING Bank account ‘7684,
 9   held in the name of Payment Solutions BV;
10         g.    $248,970.00 wire transferred from Citibank NA, account
11   ‘0457, held in the name of Paul Hastings LLP;
12         h.    $52,500.00 wire transferred from Enterprise Bank and Trust
13   account ‘7177, held in the name of Global Trading Solutions LLC;
14         i.    $65,000.00 wire transferred from Enterprise Bank and Trust
15   account ‘7177, held in the name of Global Trading Solutions LLC;
16         j.    $5,534.54 wire transferred from Enterprise Bank and Trust
17   account ‘7177, held in the name of Global Trading Solutions LLC; and
18         k.    $40,000.00     wire transferred from Crypto Capital;
19         l.    6 Bitcoin transferred from a Backpage controlled wallet;
20         m.    199.99995716 Bitcoin transferred from a Backpage controlled
21   wallet;
22         n.    404.99984122 Bitcoin transferred from a Backpage controlled
23   wallet;
24         o.    173.97319 Bitcoin transferred from a Backpage controlled
25   wallet;
26         p.    411.00019 Bitcoin transferred from a Backpage controlled
27   wallet;
28         q.    2.00069333 Bitcoin transferred from a Backpage controlled


                                               81
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 82     83 of
                                                                      of 90     91 ID #:775
                                                                             Page



 1   wallet;
 2         r.    136.6544695 Bitcoin transferred from a Backpage controlled
 3   wallet;
 4         s.    2,673.59306905 Bitcoin Cash transferred from a Backpage
 5   controlled wallet;
 6         t.    55.5 Bitcoin Cash transferred from a Backpage controlled
 7   wallet;
 8         u.    73.62522241 Bitcoin Cash transferred from a Backpage
 9   controlled wallet;
10         v.    16,310.79413202 Litecoin transferred from a Backpage
11   controlled wallet;
12         w.    783.9735116 Litecoin transferred from a Backpage controlled
13   wallet; and
14         x.    509.81904619 Bitcoin Gold transferred from a Backpage
15   controlled wallet.
16         228. Backpage surrendered to a USPIS holding bank account the
17   following assets that constitute and are derived from proceeds
18   traceable to SUA, involved in money laundering, or both:
19         a.    On or about October 30, 2018, approximately $182,182.50
20 previously held in the name of ‘Ad Tech BV’ at Amro Bank N.V. Account
21 ‘6352 (“Amro ‘6352 Funds” or “Account 63”);
22         b.    On or about December 11, 2018, approximately $518,172.92
23   previously held in the name of ‘Cardquiry’ at Wells Fargo Bank
24   Account ‘4455 (“WF ‘4455 Funds” or “Account 66”); and
25         c.    On or about January 8, 2019, approximately $11,802.76
26   previously held for the benefit of Backpage and related entities by
27   the law firm ‘Schiff Hardin LLP’ at Citibank Account ‘6937 (“Citibank
28   ‘6973 Funds” or “Account 65”).


                                               82
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 83     84 of
                                                                      of 90     91 ID #:776
                                                                             Page



 1         NN.   BACKPAGE ASSETS SURRENDERED TO THE GOVERNMENT BY OTHERS
 2         229. On or about November 13, 2018, the holder of Plains Capital
 3   Account ‘3921 agreed to and did wire $23,175 to the USPIS holding
 4   account.    The holder of Plains Capital Account ‘3921 agreed to wire,
 5   and did wire, these funds to the government in lieu of the government
 6   executing a seizure warrant on these funds, which funds constitute
 7   and are derived from proceeds traceable to SUA, involved in money
 8   laundering, or both.
 9         230. On or about June 11, 2019, Ferrer agreed to and did
10   transfer to USPIS cryptocurrency holding wallets the following
11   cryptocurrency, previously held in Bitstamp Account Number ‘0831,
12   which cryptocurrency Ferrer stipulated was the criminally derived
13   proceeds of Backpage’s illegal activity, involved in money laundering
14   transactions, or both, and as such, are forfeitable property:
15         a.    Approximately 2.70447488 Bitcoin, previously held in the
16   name of Carl Ferrer and Postfastr, LLC; and
17         b.    Approximately 3.54986007 Bitcoin Cash, previously held in
18   the name of Carl Ferrer and Postfastr, LLC.
19         OO.   BACKPAGE FUNDS PREVIOUSLY HELD AT DAVIS WRIGHT TREMAINE
20         231. On August 13, 2018, Davis Wright Tremaine initiated a wire
21   transfer of $3,713,121.03 from Bank of America account ‘3414, held in
22   the name of Davis Wright Tremaine, LLP into the government holding
23   account.
24         a.    Between January 13 and January 20, 2017, a GoCoin account
25   wire transferred $1,318,800 to the Veritex Account;
26         b.    On June 22, 2017, the Veritex Account wire transferred
27   $1,000,000 into Account 27;
28         c.    On April 27, 2017, the Netherlands Account wire transferred


                                               83
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 84     85 of
                                                                      of 90     91 ID #:777
                                                                             Page



 1   $2,500,000 to Account 27;
 2         d.    On April 28, 2017, the Netherlands Account wire transferred
 3   $2,500,000 to Account 27;
 4         e.    On May 24, 2017, Account 1 wire transferred $500,000 into
 5   Account 27;
 6         f.    On September 13, 2017, Account 1 wire transferred
 7   $1,000,000 into Account 27;
 8         g.    On September 27, 2017, the Netherlands Account wire
 9   transferred about $778,802.96 into Account 27; and
10         h.    On October 20, 2017, Account 1 wire transferred $500,000
11   into Account 27.
12      FUNDS HELD AT USAA SAVINGS BANK FOR THE BENEFIT OF MICHAEL LACEY
13         PP.   Accounts 59, 60, 61, and 62 (USAA ‘2155, ‘2058, ‘2171, and,
                 1507)
14
           232. Accounts 59, 60, 60, and 62, are all held in the name of
15
     Anne Hawkins, a sister-in-law to Larkin, and were funded with
16
     proceeds alleged to have been traceable to SUA, involved in money
17
     laundering, or both.
18
           233. Between December 14, 2015, and February 9, 2017, a company
19
     doing business for GoCoin initiated approximately 39 wire transfers
20
     totaling approximately $3,959,557.78 in criminal proceeds from the
21
     Slovakia Account to Website Tech Account ‘2008, in the United States.
22
           234. Between January 21, 2016, and August 31, 2016, Website Tech
23
     Account ‘2008 initiated approximately 27 wire transfers totaling
24
     approximately $48 million to Arizona Bank & Trust account number
25
     ‘6211 (“AZBT ‘6211”), belonging to Cereus Properties LLC, which is
26
     owned or controlled by Spear, Backpage, and or other Backpage
27
     Operators.
28
           235. On January 4, 2017, AZBT ‘6211 initiated four wires:

                                               84
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 85     86 of
                                                                      of 90     91 ID #:778
                                                                             Page



 1         a.    $33,591.34 to Charles Schwab account ‘6039, held in the
 2   name of Oaxaca Living Trust with Kathleen D. Larkin as the sole
 3   beneficiary (“Schwab ‘6039”);
 4         b.    $33,591.34 to Charles Schwab account ‘9083, held in the
 5   name of Puebla Living trust with Rose L. Larkin as the sole
 6   beneficiary (Schwab ‘9083”);
 7         c.    $33,591.34 to Charles Schwab account ‘7249, held in the
 8   name of Cuernavaca Living Trust with Quinn M. Larkin as the sole
 9   beneficiary (“Schwab ‘8628”); and
10         d.    $33,591.34 to Charles Schwab account ‘8628, held in the
11   name of Chiapas Living trust with John C. Larkin as the sole
12   beneficiary (“Schwab ‘8628”).
13         236. Several days after the wire transfers from AZBT ‘6211 to
14   the four Charles Schwab accounts, funds were wire transferred to four
15   AZBT accounts.
16         a.    On January 10, 2017, Schwab ‘6039 wired $840,692.69 to
17   Arizona Bank & Trust account ‘3835, held in the name of Oaxaca Living
18   Trust UTA with Lacey and Hawkins as the Trustees and Kathleen
19   Dewhurst Larkin as the beneficiary (“AZBT ‘3835”);
20         b.    On January 11, 2017, Schwab ‘9083 wired $840,672.72 to
21   Arizona Bank & Trust account ‘3864 held in the name of Puebla Living
22   Trust UTA with Lacey and Hawkins as the Trustees and Rose Lyons
23   Larkin as the beneficiary (“AZBT ‘3864”);
24         c.    On January 12, 2017, Schwab ‘7249 wired $840,672.70 to
25   Arizona Bank & Trust account ‘3859 held in the name of Cuernavaca
26   Living Trust UTA with Lacey and Hawkins as the Trustees and Quinn
27   McCarthy Larkin as the beneficiary (“AZBT ‘3859”); and
28         d.    On January 10, 2017, Schwab ‘8628 wired $840,672.70 to


                                               85
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 86     87 of
                                                                      of 90     91 ID #:779
                                                                             Page



 1   Arizona Bank & Trust account ‘3840 held in the name of Chiapas Living
 2   Trust UTA with Lacey and Hawkins as the Trustees and John Carey
 3   Larkin as the beneficiary (“AZBT ‘3840”).
 4         237. On January 11, 2018, and in addition to the previous wire
 5   transfers, AZBT ‘6211 transferred $33,591.34 to each of the Living
 6   Trust accounts, AZBT ‘3835, AZBT ‘3864, AZBT ‘3859, and AZBT ‘3840.
 7         238. On February 9, 2017, the four Oaxaca Living Trust accounts,
 8   AZBT ‘3835, AZBT ‘3864, AZBT ‘3859, and AZBT ‘3840, wire transferred
 9   approximately $874,330 to Accounts 59, 60, 61, and 62.                More
10   specifically:
11         a.    On February 9, 2017, AZBT ‘3835 wired $874,334.26 to
12   Account 59;
13         b.    On February 9, 2017, AZBT ‘3864 wired $874,332.68 to
14   Account 60;
15         c.    On February 9, 2017, AZBT ‘3835 wired $874,331.01 to
16   Account 61; and
17         d.    On February 9, 2017, AZBT ‘3835 wired $874,334.27 to
18   Account 62.
19                                FIRST CLAIM FOR RELIEF
20                              (18 U.S.C. § 981(a)(1)(C))
21         239. Based on the facts set out above, Plaintiff alleges that
22   the Defendant Assets constitute, and are derived from, proceeds
23   traceable to one or more violations of Title 18, United States Code,
24   Sections 1591 (Sex Trafficking of Children) and 1952 (Interstate and
25   Foreign Travel in Aid of Racketeering Enterprise), each of which is a
26   specified unlawful activity under 18 U.S.C. §§ 1956(c)(7)(A),
27   1956(c)(7)(B)(iv) and 1956(c)(7)(D), and a conspiracy to commit such
28   offenses.     The Defendant Assets are therefore subject to forfeiture


                                               86
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 87     88 of
                                                                      of 90     91 ID #:780
                                                                             Page



 1   to the United States pursuant to 18 U.S.C. § 981(a)(1)(C).
 2                                SECOND CLAIM FOR RELIEF
 3                              (18 U.S.C. § 981(a)(1)(A))
 4         240. Based on the facts set out above, Plaintiff alleges that
 5   the Defendant Assets were involved in, and are traceable to, property
 6   involved in one or more transactions or attempted transactions in
 7   violation of section 18 U.S.C. § 1957, and a conspiracy to commit
 8   such offenses, in violation of section 18 U.S.C. § 1956(h).
 9   Specifically, the Defendant Assets were involved in and are traceable
10   to property involved in one or more financial transactions, attempted
11   transactions, and a conspiracy to conduct or attempt to conduct such
12   transactions in criminally derived property of a value greater than
13   $10,000 that was derived from specified unlawful activities, to wit,
14   violations of Title 18, United States Code, Sections 1591 (Sex
15   Trafficking of Children) and 1952 (Interstate and Foreign Travel in
16   Aid of Racketeering Enterprise), each of which is a specified
17   unlawful activity under 18 U.S.C. §§ 1956(c)(7)(A), 1956(c)(7)(B)(iv)
18   and 1956(c)(7)(D), and a conspiracy to commit such offenses.                  The
19   Defendant Assets are therefore subject to forfeiture to the United
20   States pursuant to 18 U.S.C. § 981(a)(1)(A).
21                                THIRD CLAIM FOR RELIEF
22                              (18 U.S.C. § 981(a)(1)(A))
23         241. Based on the facts set out above, Plaintiff alleges that
24   the Defendant Assets were involved in, and are traceable to property
25   involved in, one or more transactions or attempted transactions in
26   violation of section 18 U.S.C. § 1956(a)(1)(B)(i) (Concealment Money
27   Laundering), (a)(2) (International Money Laundering), and a
28   conspiracy to commit such offenses, in violation of section 18 U.S.C.


                                               87
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 88     89 of
                                                                      of 90     91 ID #:781
                                                                             Page



 1   § 1956(h).     Specifically, the Defendant Assets were involved in and
 2   are traceable to property involved in one or more financial
 3   transactions, attempted transactions, and a conspiracy to conduct or
 4   attempt to conduct such transactions involving the proceeds of
 5   specified unlawful activity, to wit, violations of Title 18, United
 6   States Code, Sections 1591 (Sex Trafficking of Children) and 1952
 7   (Interstate and Foreign Travel in Aid of Racketeering Enterprise),
 8   each of which is a specified unlawful activity under 18 U.S.C.
 9   §§ 1956(c)(7)(A), 1956(c)(7)(B)(iv) and 1956(c)(7)(D), and a
10   conspiracy to commit such offenses.            The Defendant Assets are
11   therefore subject to forfeiture to the United States pursuant to 18
12   U.S.C. § 981(a)(1)(A).
13   ///
14   ///
15   ///
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               88
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 89     90 of
                                                                      of 90     91 ID #:782
                                                                             Page



 1         WHEREFORE, plaintiff United States of America prays:
 2          (a) That due process issue to enforce the forfeiture of the
 3   Defendant Assets;
 4          (b) That due notice be given to all interested parties to
 5   appear and show cause why forfeiture should not be decreed;
 6          (c) That this Court decree forfeiture of the Defendant Assets
 7   to the United States of America for disposition according to law; and
 8          (d) For such other and further relief as this Court may deem
 9   just and proper, together with the costs and disbursements of this
10   action.
11    Dated: June 1, 2020                     NICOLA T. HANNA
                                              United States Attorney
12                                            BRANDON D. FOX
                                              Assistant United States Attorney
13                                            Chief, Criminal Division
                                              STEVEN R. WELK
14                                            Assistant United States Attorney
                                              Chief, Asset Forfeiture Section
15
16                                            ____/s/Dan G. Boyle________
                                              JOHN J. KUCERA
17                                            DANIEL G. BOYLE
                                              Assistant United States Attorneys
18
                                              Attorneys for Plaintiff
19                                            UNITED STATES OF AMERICA
20
21
22
23
24
25
26
27
28


                                               89
          Case 2:18-cr-00422-DJH
 Case 2:18-cv-08420-RGK-PJW      Document
                               Document 1081966-2   Filed 11/13/23
                                             Filed 06/01/20         Page
                                                              Page 90     91 of
                                                                      of 90     91 ID #:783
                                                                             Page



 1                                       VERIFICATION
 2         I, Lyndon A Versoza, hereby declare that:
 3         1.    I am a United States Postal Inspector with the United
 4   States Postal Inspection Service.           I am the case agent for the civil
 5   forfeiture action entitled United States of America v. $1,546,076.35
 6
     in Bank Funds Seized From Republic Bank of Arizona Account ‘1889, et
 7
     al.
 8
           2.    The Consolidated Master Verified Complaint encompasses all
 9
     of the previously filed member complaints and assets into the lead
10
     complaint.
11
           3.    I have read the above Consolidated Master Verified
12
     Complaint for Forfeiture and know its contents, which is based upon
13
     my own personal knowledge and reports provided to me by other agents.
14
           4.    Everything contained in the Complaint is true and correct,
15
16   to the best of my knowledge and belief.

17         I declare under penalty of perjury that the foregoing is true

18   and correct.

19         Executed on June 1, 2020, in Los Angeles, California.

20
21                                               _________________________
22                                               LYNDON A VERSOZA
                                                 U.S. Postal Inspector
23                                               United States Postal Inspection
                                                 Service
24
25
26
27
28


                                               90
